          IN THE CIRCUIT COURT FOR BALTIMORE CITY


                                             )
STATE OF MARYLAND,                           )
by and through the Maryland Attorney General,) Civil Action No.
200 Saint Paul Place                         )
Baltimore, Maryland 21202,                   )
                                             )
                      Plaintiff,             )
                                             )      COMPLAINT
                      v.                     )
                                             ) JURY TRIAL DEMANDED
EXXON MOBIL CORPORATION                      )
1251 Avenue of the Americas                  )
New York, New York 10020                     )                                     ZZ.


                                             )                  r-           7.4
  Serve on Resident Agent:                   )
  CSC-Lawyers Incorporating Service Company)                        -o   ,erj
  7 Saint Paul Street, Suite 820             )                           c
  Baltimore, Maryland 21202                   )
                                                                   4.c             '
               and                            )
                                              )
EX.XONMOBIL OIL CORPORATION )
 5959 La Colinas Boulevard                    )
Irving, Texas 75039                           )
                                              )
  Serve on Resident Agent:                    )
  CSC-Lawyers Incorporating Service Company)
   7 Saint Paul Street, Suite 820             )
  Baltimore, Maryland 21202                    )
                                               )
               and                             )
                                               )




                                  1
APEX OIL COMPANY, INC.
8182 Maryland Avenue
St. Louis, Missouri 63105

 Serve on Resident Agent:
 The Corporation Trust, Inc.
 2405 York Road, Suite 201
 Lutherville Timonium, Maryland 21093-2264)
                                          )
              and                         )
                                          )
ASTRA OIL COMPANY, LLC                    )
5847 San Felipe, Suite 2850               )
Houston, Texas 77057                      )
                                          )
 Serve on Resident Agent:                 )
 CSC-Lawyers Incorporating Service Company)
 7 Saint Paul Street, Suite 820           )
 Baltimore, Maryland 21202                )
                                          )
              and                         )
                                          )
ATLANTIC RICHFIELD COMPANY                )
28100 Torch Parkway                       )
Warrenville, Illinois 60555               )
                                          )
 Serve on Resident Agent:                 )
 The Corporation Trust, Inc.              )
 2405 York Road, Suite 201                )
 Lutherville Timonium, Maryland 21093-2264)
                                          )
              and.                        )
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                                   2
BP AMERICA INC.
200 East Randolph Drive
Chicago, Illinois 60601

 Serve on Resident Agent:
 The Corporation Trust, Inc.
 300 East Lombard Street
 Baltimore, Maryland 21202

            and

BP AMOCO CHEMICAL COMPANY
150 West Warrenville Road
Naperville, Illinois 60563

 Serve on Resident Agent:
 The Corporation Trust, Inc.
 2405 York Road, Suite 201
 Lutherville Timonium, Maryland 21093-2264)
                                          )
              and                         )
                                          )
BP CORPORATION NORTH                      )
AMERICA INC.                              )
200 East Randolph Drive                   )
Chicago, Illinois 60601                   )
                                          )
 Serve on Resident Agent:                 )
 The Corporation Trust, Inc.              )
 2405 York Road, Suite 201                )
 Lutherville Timonium, Maryland 21093-2265)
                                          )
              and                         )
                                          )




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BP PRODUCTS NORTH AMERICA INC. )
28100 Torch Parkway                          )
Wanrenville, Illinois 60555                  )
                                             )
 Serve on Resident Agent:                    )
 The Corporation Trust, Inc.                 )
 2405 York Road, Suite 201                   )
 Lutherville Timonium, Maryland 21093-2265)
                                             )
              and                            )
                                             )
CHEVRON CORPORATION                          )
6001 Bollinger Canyon Road                   )
San Ramon, California 94583                  )
                                             )
  Serve on Agent:                            )
  The Prentice-Hall Corporation System, Inc. )
  251 Little Falls Drive                     )
  Wilmington, Delaware 19808                 )
                                             )
              and                            )
                                             )
CHEVRON U.S.A. INC.                          )
6001 Bollinger Canyon Rd.                    )
San Ramon, California 94583                  )
                                             )
  Serve on Resident Agent:                   )
  The Prentice-Hall Corporation System, MA )
  7 Saint Paul Street, Suite 820             )
  Baltimore, Maryland 21202                  )
                                             )
               and                           )
                                              )




                                       4
CITGO PETROLEUM CORPORATION               )
1293 Eldridge Parkway                     )
Houston, Texas 77077                      )
                                          )
 Serve on Resident Agent:                 )
 The Corporation Trust, Inc.              )
 2405 York Road, Suite 201                )
 Lutherville Timonium, Maryland 21093-2264)
                                          )
              and                         )
                                          )
CITGO REFINING AND                        )
CHEMICALS COMPANY L.P.                    )
1802 Nueces Bay Boulevard                 )
Corpus Christi, Texas 78469               )
                                          )
 Serve on Agent:                          )
 The Corporation Trust Company            )
 Corporation Trust Center                 )
 1209 Orange Street                       )
  Wilmington, Delaware 19801              )
                                          )
              and                         )
                                          )
CONO C OPHILLIPS COMPANY                  )
600 North Dairy Ashford                   )
Houston, Texas 77252                      )
                                          )
  Serve on Resident Agent:                )
  The United States Corporation Company   )
  7 Saint Paul Street, Suite 820          )
  Baltimore, Maryland 21202               )
                                          )
              and                         )
                                          )




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CONOCOPHILLIPS
600 North Dairy Ashford
Houston, Texas 77252

 Serve on Agent:
 Corporation Service Company
 251 Little Falls Drive
 Wilmington, Delaware 19808

            and

CUMBERLAND FARMS, INC.
165 Flanders Road
Westborough, Massachusetts 01581

 Serve on Resident Agent:
 The Corporation Trust, Inc.
 32 South Street
 Baltimore, Maryland 21202

            and

DUKE ENERGY MERCHANTS, LLC
5400 Westheimer Court
Houston, Texas 77056

 Serve on Resident Agent:
 The Corporation Trust, Inc.
 300 East Lombard Street
 Baltimore, Maryland 21202-3219

            and




                                   6
EL PASO MERCHANT ENERGY-
PETROLEUM COMPANY
1001 Louisiana Street
Houston, Texas 77002

 Serve on Resident Agent:
 The Corporation Trust, Inc.
 300 East Lombard Street
 Baltimore, Maryland 21202-3219

           and

ENERGY TRANSFER PARTNERS, L.P.
3738 Oak Lawn Avenue
Dallas, Texas 75219

 Serve on Agent:
 The Corporation Trust Company
 Corporation Trust Center
 1209 Orange Street
 Wilmington, Delaware 19801

           and

EQUILON ENTERPRISES LLC
1209 Orange Street
Wilmington, Delaware 19801

 Serve on Resident Agent:
 The Corporation Trust, Inc.
 2405 York Road, Suite 201
 Lutherville Timonium, Maryland 21093-2265)

           and




                                   7
ETP HOLDCO CORPORATION
1001 Louisiana Street
Houston, Texas 77002

 Serve on Agent:
 Corporation Service Company
 251 Little Falls Drive
 Wilmington, Delaware 19808

            and

GEORGE E. WARREN CORPORATION
50 Milk Street
Boston, Massachusetts 02109

  Serve on Resident Agent:
  The Corporation Trust, Inc.
 2405 York Road, Suite 201
  Lutherville Timonium, Maryland 21093-2264)
                                           )
              and                          )
                                           )
GETTY PROPERTIES CORPORATION )
125 Jericho Turnpike                       )
Jericho, New York, 11753                   )
                                           )
  Serve on Resident Agent:                 )
  The Corporation Trust, Inc.              )
  2405 York Road, Suite 201                )
  Lutherville Timonium, Maryland 21093-2264)
                                           )
              and                          )
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GETTY PETROLEUM MARKETING INC.)
1500 Hempstead Turnpike                    )
East Meadow, New York 11554                )
                                           )
 Serve on:                                 )
 Maryland Depart tient of Assessments      )
 & Taxation                                )
 Attn: Service of Process                  )
 301 West Preston Street, Room 801         )
 Baltimore, Maryland 21201-2395            )
                                           )
              and                          )
                                           )
GULF OIL LIMITED PARTNERSHIP               )
80 Williams Street, Suite 400              )
Wellesley Hills, Massachusetts 02481       )
                                           )
 Serve on Resident Agent:                  )
 Cogency Global Inc.                       )
  1519 York Road                           )
  Lutherville, Maryland 21093              )
                                           )
               and                         )
                                           )
GUTTMAN ENERGY, INC,                       )
200 Speers Street                          )
Belle Vernon, Pennsylvania 15012           )
                                           )
  Serve on Resident Agent:                 )
  CSC-Lawyers Incorporating Service Company)
  7 Saint Paul Street, Suite 820           )
  Baltimore, Maryland 21202                )
                                           )
               and                         )
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HARTREE PARTNERS, LP                      )
1185 Avenue of the Americas               )
New York, New York 10036                  )
                                          )
 Serve on Resident Agent:                 )
 The Corporation Trust, Inc.              )
 2405 York Road, Suite 201                )
 Lutherville Timonium, Maryland 21093-2264)
                                          )
             and                          )
                                          )
HESS CORPORATION                          )
1185 Avenue of the Americas               )
New York, New York 10036                  )
                                          )
 Serve on Resident Agent:                 )
 The Corporation Trust, Inc.              )
 2405 York Road, Suite 201                )
 Lutherville Timonium, Maryland 21093-2264)
                                          )
             and                          )

HESS OIL VIRGIN ISLANDS
CORPORATION
1185 Avenue of the Americas
New York, New York 10036

 Serve on Agent:
 Sunshine Benoit
 Bryant Barnes & Benoit, LLP
 1134 King Street, 2nd Floor
 Christiansted, Virgin Islands 00820

            and




                                       10
HOLTZMAN OIL CORPORATION
5534 North Main Street
Mount Vernon, Virginia 22842

 Serve on Resident Agent:
 John R. Barr
 10500 Little Patuxent Parkway, Number 420
 Columbia, Maryland 21044

             and

KINDER MORGAN G.P., INC.
Suite 1000, 1001 Louisiana Street
Houston, Texas 77002

 Serve on Resident Agent:
 Capitol Corporate Services, Inc.
 4th Floor, 3206 Tower Oaks Boulevard
 Rockville, Maryland 20852

             and
                                )
KINDER MORGAN OPERATING L.P. "A")
1301 McKinney, Suite 3450       )
Houston, Texas 77010            )
                                )
 Serve on Resident Agent:       )
 The Corporation Trust, Inc.    )
 351 West Camden Street         )
 Baltimore, Maryland 21201-7912 )
                                )
            and                 )
                                )




                                    11
KINDER MORGAN TRANSMIX
COMPANY, LLC
Suite 1000, One Allen Center
500 Dallas Street
Houston, Texas 77002

 Serve on Resident Agent:
 Capitol Corporate Service, Inc.
 3206 Tower Oaks Boulevard, 4th Floor
 Rockville, Maryland 20852

            and

LUKOIL NORTH AMERICA LLC
505 Fifth Avenue, 9th Floor
New York, New York 11554

 Serve on Resident Agent:
 The Corporation Trust, Inc.
 351 West Camden Street
 Baltimore, Maryland 21201-7912

            and

LUKOIL AMERICAS CORPORATION
505 Fifth Avenue, 9th Floor
New York, New York 11554

 Serve on Agent:
 The Corporation Trust Company
 Corporation Trust Center
 1209 Orange Street
 Wilmington, Delaware 19801

            and




                                    12
LUKOIL PAN AMERICAS, LLC                  )
Suite 400, 2711 Centerville Road          )
Wilmington, Delaware 19808                )
                                          )
 Serve on Resident Agent:                 )
 CSC-Lawyers Incorporating Service Company)
 7 Saint Paul Street, Suite 820           )
 Baltimore, Maryland 21202                )
                                          )
             and                          )
                                          )
MARATHON OIL CORPORATION                  )
5555 San Felipe Road                      )
Houston, Texas 77056                      )
                                          )
 Serve on Agent:                          )
 The Corporation Trust Company            )
 Corporation Trust Center                 )
 1209 Orange Street                       )
 Wilmington, Delaware 19801               )
                                          )
             and                          )
                                          )
MARATHON PETROLEUM                        )
COMPANY LP                                )
539 South Main Street                     )
Findlay, Ohio 45840                       )
                                          )
 Serve on Resident Agent:                 )
 The Corporation Trust, Inc.              )
 2405 York Road, Suite 201                )
 Lutherville Timonium, Maryland 21093-2264)
                                          )
             and                          )
                                          )




                                   13
MARATHON PETROLEUM
CORPORATION
539 South Main Street
Findlay, Ohio 45840

 Serve on Agent:
 The Corporation Trust Company
 Corporation Trust Center
 1209 Orange Street
 Wilmington, Delaware 19801

            and

MOBIL CORPORATION
150 East 42nd Street
New York, New York 10017

 Serve on Resident Agent:
 The Prentice-Hall Corporation System, Inc.
 7 Saint Paul Street, Suite 1660
 Baltimore, Maryland 21202

            and

MOTWA ENTERPRISES LLC
500 Dallas Street
Houston, Texas, 77002

 Serve on Resident Agent:
 The Corporation Trust, Inc.
 2405 York Road, Suite 201
 Lutherville Timonium, Maryland 21093-2264)

            and




                                      14
NUSTAR TERMINALS OPERATIONS
PARTNERSHIP LP
2400 Lakeside Boulevard, 6th Floor
Richardson, Texas 75082
                                          )
 Serve on Resident Agent:                 )
 The Corporation Trust Inc.               )
 2405 York Road, Suite 201                )
 Lutherville Timonium, Maryland 21093-2264)
                                          )
             and                          )
                                          )
PHILLIPS 66 COMPANY                       )
600 North Dairy Ashland Road              )
Houston, Texas 77079                      )
                                          )
 Serve on Resident Agent:                 )
 CSC-Lawyers Incorporating Service Company)
 7 Saint Paul Street, Suite 820           )
 Baltimore, Maryland 21202                )
                                          )
             and                          )
                                          )
PJSC LUKOIL                               )
11 Sretensky Boulevard                    )
Moscow, Russia 101000                     )

 Serve on:
 Maryland Department of Assessments
 & Taxation
 Attn: Service of Process
 301 West Preston Street, Room 801
 Baltimore, Maryland 21201-2395

             and




                                      15
THE PREMCOR REFINING GROUP INC.)
One Valero Way                            )
San Antonio, Texas 79249                  )
                                          )
 Serve on Resident Agent:                 )
 The Corporation Trust, Inc.              )
 2405 York Road, Suite 201                )
 Lutherville Timonium, Maryland 21093-2264)
                                          )
             and                          )
                                          )
PREMCOR USA INC.                          )
1700 East Putnam Avenue, Suite 500        )
Old Greenwich, Connecticut 06870          )
                                          )
 Serve on Agent:
 The Corporation Trust Company
 Corporation Trust Center
 1209 Orange Street
  Wilmington, Delaware 19801

            and

7-ELEVEN, INC.
P.O. Box 219088
Dallas, Texas 75221

 Serve on Resident Agent:
 Corporate Creations Network Inc.
 2 Wisconsin Circle, Number 700
 Chevy Chase, Maryland 20815

            and




                                    16
SHEETZ, INC.                              )
5700 Sixth Avenue                         )
Altoona, Pennsylvania 16602               )
                                          )
 Serve on Resident Agent:                 )
 CSC-Lawyers Incorporating Service Company)
 7 Saint Paul Street, Suite 820           )
 Baltimore, Maryland 21202                )
                                          )
             and

SHELL OIL COMPANY
910 Louisiana Street
Houston, Texas 77002

 Serve on Resident Agent:
 The Corporation Trust, Inc.
 2405 York Road, Suite 201
 Lutherville Timonium, Maryland 21093-2264)
                                          )
             and                          )
                                          )
SHELL OIL PRODUCTS COMPANY LLC )
910 Louisiana Street                      )
Houston, Texas 77002                      )
                                          )
 Serve on Agent:                          )
 The Corporation Trust Company            )
 Corporation Trust Center                 )
 1209 Orange Street                       )
 Wilmington, Delaware 19801               )
                                          )
             and                          )
                                          )




                                   17
SHELL TRADING (US) COMPANY
910 Louisiana Street
Houston, Texas 77002

 Serve on Resident Agent:
 The Corporation Trust, Inc.
 2405 York Road, Suite 201
 Lutherville Timonium, Maryland 21O932264)
                                           )
              and                          )
                                           )
SUNOCO, INC.                               )
3801 West Chester Pike                     )
Newtown Square, Pennsylvania 19073         )
                                           )
 Serve on Agent:                           )
 Corporation Service Company               )
 251 Little Falls Drive                    )
 Wilmington, Delaware 19808                )
                                           )
              and                          )
                                           )
SUNOCO, INC. (R&M)                         )
1608 Walnut Street                         )
Philadelphia, Pennsylvania 19103           )
                                           )
  Serve on Resident Agent:                 )
  CSC-Lawyers Incorporating Service Company)
  7 Saint Paul Street, Suite 820           )
  Baltimore, Maryland 21202                )
                                           )
              and                          )
                                           )




                                    18
SUNOCO PARTNERS MARKETING & )
TERMINALS L.P.                             )
3rd Floor, 1801 Market Street              )
Philadelphia, Pennsylvania 19103           )
                                           )
  Serve on Resident Agent:                 )
  CSC-Lawyers Incorporating Service Company)
  7 Saint Paul Street, Suite 820           )
  Baltimore, Maryland 21202                )
                                           )
              and                          )
                                           )
SUN COMPANY, INC.                          )
3801 West Chester Pike                     )
Newtown Square, Pennsylvania 19073         )
                                           )
  Serve on Agent:                          )
  Corporation Service Company              )
  251 Little Falls Drive                   )
  Wilmington, Delaware 19808               )
                                           )
              and                          )
                                           )
TEXACO INC.                                )
6001 Bollinger Canyon Road                 )
San Ramon, California 94583                )
                                           )
  Serve on Resident Agent:                 )
  CSC-Lawyers Incorporating Service Company)
  7 Saint Paul Street, Suite 1660
  Baltimore, Maryland 21202

            and




                                   19
TMR COMPANY                                )
910 Louisiana Street                       )
Houston, Texas 77002                       )
                                           )
 Serve on Resident Agent:                  )
 The Corporation Trust, Inc.               )
 2405 York Road, Suite 201                 )
 Lutherville Timonium, Maryland 21093-2264)
                                           )
              and                          )
                                           )
TRMI-11 LLC                                )
6001 Bollinger Canyon Road                 )
San Ramon, California 94583                )
                                           )
 Serve on Agent:                           )
  Corporation Service Company              )
 251 Little Falls Drive                    )
  Wilmington, Delaware 19808               )
                                           )
              and                          )
                                           )
TOTAL PETROCHEMICALS                       )
& REFINING USA, INC.                       )
P.O. Box 2159                              )
Dallas, Texas 75221                        )
                                           )
  Serve on Resident Agent:                 )
  The Corporation Trust, Inc.              )
  2405 York Road, Suite 201                )
  Lutherville Timonium, Maryland 21093-2264)
                                           )
              and                          )
                                           )




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TRANSMONTAIGNE PRODUCT                    )
SERVICES, LLC                             )
Suite 3100, 1670 Broadway                 )
Denver, Colorado 80202                    )
                                          )
 Serve on Resident Agent:                 )
 The Corporation Trust, Inc.              )
 2405 York Road, Suite 201                )
 Lutherville Timonium, Maryland 21093-2264)
                                          )
             and                          )
                                          )
VALERO ENERGY CORPORATION                 )
One Valero Way                            )
San Antonio, Texas 78249                  )
                                          )
 Serve on Agent:                          )
 The Corporation Trust Company            )
 Corporation Trust Center                 )
 1209 Orange Street                       )
 Wilmington, Delaware 19801               )
                                          )
             and                          )
                                          )
VALERO MARKETING AND SUPPLY               )
COMPANY                                   )
One Valero Way                            )
San Antonio, Texas 79249                  )
                                          )
 Serve on Resident Agent:                 )
 The Corporation Trust, Inc.              )
 2405 York Road, Suite 201                )
 Lutherville Timonium, Maryland 21093-2264)
                                          )
             and                          )
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                                   21
VALERO REFINING AND MARKETING
COMPANY
One Valero Way
San Antonio, Texas 79249

 Serve on Agent:
 The Corporation Trust Company
 Corporation Trust Center
 1209 Orange Street
 Wilmington, Delaware 19801

            and

VITOL S.A.
Boulevard du Pont d'Arve 28
Geneva, Switzerland

 Serve on Resident Agent:
 The Corporation Trust
 300 East Lombard Street
 Baltimore, Maryland 21202

            and

WAWA, INC.
260 Baltimore Pike
Wawa, Pennsylvania 19063

 Serve on Resident Agent:
 The Corporation Trust, Inc.
 2405 York Road, Suite 201
 Lutherville Timonium, Maryland 21093-2264)

            and




                                   22
WESTERN REFINING                          )
YORKTOWN, INC.                            )
Suite 101, 1250 W. Washington Street      )
Tempe, Arizona 85281                      )
                                          )
 Serve on Resident Agent:                 )
 CSC-Lawyers Incorporating Service Company)
 7 Saint Paul Street, Suite 820           )
 Baltimore, Maryland 21202,               )
                                          )
                     Defendants.          )
                                          )
                                 COMPLAINT

      Plaintiff State of Maryland ("State"), by and through the Maryland

Attorney General on behalf of the Maryland Department of the Environment and

the Maryland Department of Health, files this Complaint against the above-named

defendants and in support thereof alleges as follows:

                               INTRODUCTION

      1.     The State of Maryland brings this action against defendants to

redress the wide spread contamination caused to the waters of the State by

defendants' wrongful conduct in adding methyl tertiary butyl ether

("MTBE") to gasoline that defendants manufactured, refined, marketed,

handled, stored, and/or sold in the State. Defendants knew, or should have

known, and consciously and willfully disregarded, the fact that MTBE

would cause serious groundwater contamination when routinely released




                                        23
into the environment from leaking underground service station storage

tanks and other sources in the State.

      2.     MTBE is the most dangerous component of gasoline when

released into the environment because, unlike other gasoline constituents,

MTBE readily dissolves in groundwater, spreads rapidly, does not naturally

degrade and resists removal and treatment from groundwater.

      3.     Defendants' wrongful conduct in adding MTBE to their

gasoline, and their marketing, distribution, handling, storage, and sale of

MTBE gasoline in the State has created widespread contamination of the

waters of the State, including many of the State's over 400,000 public and

private drinking water wells.

      4.     MTBE is a probable human carcinogen, which can cause

significant adverse health effects when ingested and, even at very low

concentrations, can render drinking water putrid and unfit for human

consumption.

      5.     The injuries to groundwater from MTBE contamination are

statewide and negatively affect in a substantial way a significant portion of the

State's population.

      6.     The State has the authority and the duty under its Constitution and

laws to protect and seek compensation and other remedies for the injury to the


                                        24
indivisible natural water resources of the State, and acts here in its own right, in its

parens patriae capacity, and as trustee of those natural resources and pursuant to

the Environmental Standing Act,.

       7.     Defendants' manufacture, marketing, distribution, handling, and

storage and sale of MTBE gasoline in Maryland occurred despite the availability

of reasonable safer alternatives, and despite defendants' actual or constructive

knowledge that MTBE gasoline was a dangerous product that would be released

into the environment from various MTBE gasoline storage and delivery systems

and would contaminate the waters of the State.

       8.     Defendants are strictly liable to the State for manufacturing and/or

supplying a dangerous product in MTBE gasoline and for failing to provide

adequate warnings about the risks that MTBE gasoline posed to the waters,

property and citizens of the State, Defendants also are liable for creating a public

nuisance by the foreseeable release of MTBE into the waters of the State by their

actions, for trespassing thereby upon the waters and property of the State, for

negligently causing damage to the waters and property of the State, for conducting

abnormally dangerous activities, and for their associated violation of the

environmental statutes of Maryland.

       9.     As a result of defendants' liability, the State seeks and is entitled to

recover from defendants: (a) the costs paid or incurred to date, and to be paid or




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incurred in the future, to detect, define the extent of, monitor, treat, abate, remove,

remediate, and cleanup MTBE contamination of waters of the State, including the

costs to restore all MTBE-contaminated waters of the State to their pre-

contaminated condition; (b) the costs paid or incurred to date, and to be paid or

incurred in the future, to test, monitor, and treat the water from each and every

public and private drinking and irrigation water well in the State so as to remove

all MTBE from such water; (c) damages for injury to or destruction of the waters

of the State from MTBE contamination, including the loss of use and diminution

in value of waters of the State; (d) punitive damages; (e) pre- and post-judgment

interest; and (f) attorneys' fees and costs. In addition, the State seeks an injunction

requiring the defendants to: (a) test for MTBE in all private and public wells used

or to be potentially used for potable and/or irrigation purposes; (b) treat all water

from such wells so as to remove all MTBE from such water; (c) investigate and

fully delineate horizontally and vertically the full extent of all MTBE plumes in

the waters of the State and to ensure the cleanup (as defined in Md. Code Ann,

Envir. § 4-401(b)) of such MTBE plumes so that the groundwater is in the same

condition it was in prior to the discharges of MTBE. The State also seeks

declaratory relief that defendants are liable for the costs of these remedial actions.

                          JURISDICTION AND VENUE

       10.     This Court has subject matter jurisdiction over this matter under §§




                                          26
1-501 and 4-401 of the Courts and Judicial Proceedings Article of the Maryland

Code and Maryland Rule 2-305(b) because this civil case seeks and demands

money damages in excess of $75,000.00,

      11.    This Court has personal jurisdiction over defendants because they

either were served with process in Maryland; are organized under the laws of

Maryland; maintain their principal place of business in Maryland; transact

business in Maryland; perform work in Maryland; contract to supply goods,

manufactured products or services in Maryland; caused tortious injury in

Maryland; engage in persistent courses of conduct in Maryland; derive substantial

revenue from manufactured goods, products or services used or consumed in

Maryland; and/or have interests in or use real property in Maryland.

      12.     Venue is proper in this Court as to all defendants under §§ 6-201 and

6-202 of the Courts and Judicial Proceedings Article.

                         MARYLAND AS PLAINTIFF

       13.    It is the State's "public policy to improve, conserve, and manage the

quality of the waters of the State and to protect, maintain, and improve the quality

of water for public supplies, propagation of wildlife, fish and aquatic life, and

domestic, agricultural, industrial, recreational, and other legitimate beneficial

uses." Md. Code Ann., Envir. § 4-402.




                                        27
       14.    The "quality of the waters of this State is vital to the interests of the

citizens of this State. . . ." Md. Code Ann., Envir. § 9-302. "[B]ecause pollution

is a menace to public health and welfare, creates public nuisances, harms . . and

impairs domestic, agricultural . . . and other legitimate beneficial uses of water. . .

it is the policy of this State: (1) To improve, conserve, and manage the quality of

the waters of this State; (2) To protect, maintain, and improve the quality of water

for public supplies . . . ; (3) To provide that no waste is discharged into any waters

of this State . . to protect the legitimate beneficial uses of the waters of this

State," Id.

       15.    The "waters of the State" include both surface and underground

waters within the boundaries of the State or subject to its jurisdiction, as well as all

source waters that could impact the quality of groundwaters. For the purposes of

this Complaint, "waters of the State" do not include groundwaters underlying or

surface waters on federally owned properties located in Maryland.

       16.    Under the Maryland Environmental Standing Act, the "General

Assembly finds and declares that the natural resources              . of the State of

Maryland are in danger of irreparable harm occasioned by the use and exploitation

of the physical environment. It further finds that improper use and exploitation

constitute an invasion of the right of every resident of Maryland to an environment

free from pollution to the extent possible. It further finds that the courts of the




                                          28
State of Maryland are an appropriate forum for seeking the protection of the

environment and that an unreasonably strict procedural definition of 'standing to

sue' in environmental matters is not in the public interest." Md. Code Ann., Nat.

Res. § 1-502 (emphasis added).

      17.    The State of Maryland and its agencies and officers, acting through

the Attorney General, have standing to bring actions for equitable and/or

declaratory relief pursuant to the Environmental Standing Act. See Md. Code

Ann., Nat. Res. §§ 1-503, 1-504(c).

      18.    MTBE contamination has injured and continues to injure, the waters

and property of the State, and the property, health, safety, and welfare of

Maryland's citizens.

       19.    The State brings this action (a) directly in its own right, (b) in its

parens patriae capacity, (c) as trustee of Maryland's natural resources, and (d)

pursuant to the Environmental Standing Act.

       20.    The State has significant direct property interests in the waters of the

State, and it has a quasi-sovereign and a natural-resource-trustee interest in

protecting the waters of the State from contamination. The contamination of the

waters of the State by MTBE gasoline constitutes injury to the waters of the State

which are held in trust by the State on behalf of all its citizens, and to the persons




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and property of the State's citizens. The State may for the common good exercise

all the authority necessary to protect their interests.

       21.    The State, as the public trustee, is empowered to bring suit to protect

the corpus of the trust—i.e., the waters—for the beneficiaries of the trust—i. e., the

public. Protection of the waters of the State is a matter of grave public concern in

which the State has an interest apart from that of particular individuals who may

be affected. Pollution of the waters of the State with MTBE gasoline has

negatively affected in a substantial way a substantial segment of the State's

population.

       22.     The State brings this action pursuant to its police powers, which

include but are not limited to, its powers to prevent and abate pollution of the

waters of the State, to prevent and abate nuisances, and to prevent and abate

hazards to the environment and to the public health, safety, and welfare.

       23.     The State, through its Attorney General, also brings this action

against the defendants pursuant to Titles 4, 7 and 9 of the Environment Article,

which empower the Secretary of the Maryland Department of the Environment,

through the Attorney General, to bring suit against any person "responsible for the

discharge or spillage of any" oil, and to seek from such person "the reasonable

cost of rehabilitation and restoration of resources damaged and the cost of

eliminating the condition causing the damage, including the environmental




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monetary value of such resources," and to obtain against that person an injunction,

among other relief. Md. Code Ann., Envir. § 4-405(c).

       24.     As a result of defendants' acts and omissions as alleged herein, the

State has suffered and will suffer damages to waters of the State, and has incurred

and will incur costs to define the extent of MTBE contamination throughout the

State, as well as to monitor, treat, remediate, and remove MTBE and to provide

oversight of such activities.

       25.     The State does not seek to recover from any defendant damages that

the State has previously recovered or settled with that defendant based on MTBE

releases at particular sites.

                                  DEFENDANTS

       26.     Defendants include MTBE and MTBE gasoline manufacturers,

marketers and distributors. At all times relevant, defendants together controlled

all, or substantially all, of the market in Maryland for MTBE and MTBE gasoline.

       27.     Defendant Exxon Mobil Corporation is a New Jersey corporation

qualified to do business in Maryland and its resident agent is CSC-Lawyers

Incorporating Service Company, 7 Saint Paul Street, Suite 820, Baltimore,

Maryland 21202. Its principal place of business is 1251 Avenue of the Americas,

New York, New York 10020. Defendant Exxon Mobil Corporation was formerly

known as, did or does business as, and/or is the successor in liability to




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ExxonMobil Refining and Supply Company, Exxon Chemical U.S.A.,

ExxonMobil Chemical Corporation, ExxonMobil Chemical U.S.A, ExxonMobil

Refining & Supply Corporation, Exxon Company, U.S.A., Exxon Corporation and

Mobil Corporation. The terms "Exxon," ExxonMobil" and "Mobil" as used in this

Complaint refer to Defendants Exxon Mobil Corporation, ExxonMobil Oil

Corporation and Mobil Corporation, and their related entities ExxonMobil

Refining and Supply Company, Exxon Corporation, Exxon Chemical U.S.A.,

ExxonMobil Chemical Corporation, ExxonMobil Chemical U.S.A., and Exxon

Company, U.S.A.

      28.      Defendant ExxonMobil Oil Corporation is a New York corporation

qualified to do business in Maryland and its resident agent is CSC-Lawyers

Incorporating Service Company, 7 Saint Paul Street, Suite 820, Baltimore,

Maryland 21202. Its principal place of business is 5959 Las Colinas Boulevard,

Irving, Texas 75039. Defendant ExxonMobil Oil Corporation was formerly

known as, did business as, and/or is the successor in liability to Mobil Oil

Corporation.

      29.      Defendant Apex Oil Company, Inc. is qualified to do business in

Maryland. Its principal place of business is 8235 Forsyth Boulevard, St. Louis,

Missouri 63105 and its resident agent is the Corporation Trust Inc., 351 West




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Camden Street, Baltimore, Maryland 21201. The term "Apex" as used in this

Complaint refers to Defendant Apex Oil Company, Inc.

      30.    Defendant Astra Oil Company, LLC is qualified to do business in

Maryland. Its principal place of business is 5847 San Felipe Street, Suite Number

2850, Houston, Texas 77057, and its resident agent is CSC-Lawyers Incorporating

Service Company, 7 Saint Paul Street, Suite 820, Baltimore, Maryland 21202.

      31.    Defendant Atlantic Richfield Company is a Delaware corporation

qualified to do business in Maryland and its resident agent is the Corporation

Trust, Inc., 2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093-

2264. Its principal place of business is at 28100 Torch Parkway, Warrenville,

Illinois 60555. Defendant Atlantic Richfield Company was formerly known as,

did or does business as, andJor is the successor in liability to Atlantic Richfield

Delaware Corporation, Atlantic Richfield Company (a Pennsylvania corporation),

ARCO Products Company, and ARCO Chemical Company, a division of Atlantic

Richfield Company. The term "ARCO" as used in this Complaint refers to

Defendants Atlantic Richfield Company and BP America Inc., and related entities

Atlantic Richfield Delaware Corporation, Atlantic Richfield Company (a

Pennsylvania corporation), ARCO Products Company, and ARCO Chemical

Company, a division of Atlantic Richfield Company.




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      32.    Defendant BP America Inc. is a Delaware corporation and its

principal place of business is 4101 Winfield Road, Warrenville, Illinois 60555. Its

resident agent is the Corporation Trust, Inc., 300 East Lombard Street, Baltimore,

Maryland. Defendant BP America Inc. was formerly known as, did or does

business as, and/or is the successor in liability to Defendant BP Products North

America Inc., Defendant Atlantic Richfield Company, BP Amoco Corporation,

Amoco Corporation, Amoco Oil Company, 13P Exploration & Oil Inc., Sohio Oil

Company, Standard Oil of Ohio (S OHIO), Standard Oil (Indiana), BP Amoco Plc,

BP Oil Inc., BP Oil Company, Atlantic Richfield Delaware Corporation, Atlantic

Richfield Company (a Pennsylvania corporation), ARCO Products Company, and

ARCO Chemical Company, a division of Atlantic Richfield Company.

       33.   Defendant BP Amoco Chemical Company is a Delaware corporation

qualified to do business in Maryland and its resident agent is the Corporation Trust

Inc., 351 West Camden Street, Baltimore, Maryland 21201. Its principal place of

business is 150 West Warrenville Road, Naperville, Illinois 60563. Defendant BP

Amoco Chemical was formerly known as, did or does business as, and/or is the

successor in liability to Amoco Chemical Company, Amoco Chemicals Company

and Amoco Chemicals Corporation.

       34.    Defendant BP Corporation North America Inc. is an Indiana

corporation with its principal place of business at 200 East Randolph Drive,




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Chicago, Illinois 60601 and its resident agent is the Corporation Trust, Inc., 2405

York Road, Suite 201, Lutherville Timonium, Maryland 21093-2264. Defendant

BP Corporation North America Inc, is now known as, was formerly known as, did

or does business as, and/or is the successor in liability to Defendant BP Products

North America Inc., BP Amoco Corporation, Amoco Corporation, Amoco Oil

Company, 13P Exploration & Oil Inc., Sohio Oil Company, Standard Oil of Ohio

(SOHIO), Standard Oil (Indiana), BP Amoco Plc, BP Oil Inc., BP Oil Company,

and BP North America Petroleum, a division of Defendant BP Products North

America Inc. The term "BP Amoco" as used in this Complaint refers to

Defendants BP America Inc., BP Amoco Chemical Company, BP Corporation

North America Inc. and BP Products North America Inc., and their related entities

BP Amoco Corporation, Amoco Corporation, Amoco Oil Company, 13P

Exploration & Oil Inc., Sohio Oil Company, Standard Oil of Ohio (SOHIO),

Standard Oil (Indiana), BP Amoco Plc, BP Oil Inc., BP Oil Company, and BP

North America Petroleum, a division of BP Products North America Inc.

       35. Defendant BP Products North America Inc. is a Maryland

corporation qualified to do business in Maryland and its resident agent is the

Corporation Trust, Inc., 2405 York Road, Suite 201, Lutherville Timonium,

Maryland 21093-2264. Its principal place of business is 28100 Torch Parkway,

Warrenville, Illinois 60555. BP Products North America Inc. is a subsidiary of BP




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America Inc. that manages, owns and operates the refining and retail marketing

assets of BP America Inc. in the United States. Defendant BP Products North

America Inc. was formerly known as, did or does business as, and/or is the

successor in liability to BP Amoco Corporation, Amoco Corporation, Amoco Oil

Company, BP Exploration & Oil Inc., Sohio Oil Company, BP Oil Inc., BP Oil

Company, and BP North America Petroleum.

      36.    Defendant Chevron Corporation is a Delaware corporation with its

principal place of business at 6001 Bollinger Canyon Road, San Ramon,

California 94583. Its agent is the Prentice-Hall Corporation System, Inc., 251

Little Falls Drive, Wilmington, Delaware 19808. The term "Chevron" as used in

this Complaint refers to Defendants Chevron Corporation and Chevron U.S.A.

Inc., and to related entities Chevron Products Company, Chevron Chemical

Company and Gulf Oil Corporation.

      37.    Defendant Chevron U.S.A. Inc. is a Pennsylvania corporation

qualified to do business in Maryland and its resident agent is the Prentice-Hall

Corporation System, MA, 7 Saint Paul Street, Suite 820, Baltimore, Maryland

21202. Its principal place of business is 6001 Bollinger Canyon Road, San

Ramon, California 94583. In approximately 1986, Chevron U.S.A. Inc. sold

substantially all of its retail outlets and other marketing assets in the Northeast

region of the United States to Defendant Cumberland Farms, Inc. Defendant




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Chevron U.S.A. Inc. was formerly known as, did or does business as, and/or is the

successor in liability to Gulf Oil Corporation, Gulf Oil Corporation of

Pennsylvania, Chevron Products Company and Chevron Chemical Company.

       38.   Defendant CITGO Petroleum Corporation is a Delaware corporation

qualified to do business in Maryland and its resident agent is the Corporation

Trust, Inc., 2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093-

2264. Its principal place of business is 1293 Eldridge Parkway, Houston, Texas

77077. Defendant CITGO Petroleum Corporation is a wholly-owned subsidiary

of PDV America, Inc., an indirect, wholly-owned subsidiary of Petroleos de

Venezuela, S.A., the national oil company of the Bolivarian Republic of

Venezuela. The, term "CITGO" as used in this Complaint refers to Defendants

CITGO Petroleum Corporation and CITGO Refining and Chemicals Company

L.P. and to their related entities, PDV America, Inc. and Petroleos de Venezuela,

S.A.

       39, Defendant CITGO Refining and Chemicals Company L.P. is a

Delaware limited partnership with its principal place of business at 1802 Nueces

Bay Boulevard, Corpus Christi, Texas 78469. Its agent is the Corporation Trust

Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware

19801.




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      40.      Defendant ConocoPhillips Company is a Delaware corporation

qualified to do business in Maryland and its resident agent is the United States

Corporation Company, 7 Saint Paul Street, Suite 820, Baltimore, Maryland 21202.

Its principal place of business is 600 North Dairy Ashford, Houston, Texas 77252.

ConocoPhillips Company was formerly known as, did or does business as, and/or

is the successor in liability to Defendants ConocoPhillips, Phillips 66 Company,

Phillips Petroleum Company, Conoco, Inc., Tosco Corporation and Tosco

Refining Co. The term "ConocoPhillips" as used in this Complaint refers to

Defendants ConocoPhillips Company, ConocoPhillips and Phillips 66 Company,

and to their related entities Phillips Petroleum Company, Conoco Inc., Tosco

Corporation and Tosco Refining Company.

       41.     Defendant ConocoPhillips is a Delaware corporation with its

principal place of business at 600 North Dairy Ashford, Houston, Texas 77252.

Its resident agent is the Corporation Service Company, 251 Little Falls Drive,

Wilmington, Delaware 19808. Defendant ConocoPhillips was formerly known as,

did or does business as, and/or is the successor in liability to Defendants

ConocoPhillips Company and Phillips 66 Company, and to their related entities

Phillips Petroleum Company, Conoco, Inc., Tosco Corporation and Tosco

Refining Co.




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      42.    Defendant Cumberland Farms, Inc. is a Delaware corporation

qualified to do business in Maryland and its resident agent is the Corporation

Trust, 32 South Street, Baltimore, Maryland 21202. Its principal place of business

is at 100 Crossings Boulevard, Framingham, Massachusetts 01702. In

approximately 1986, Defendant Chevron U.S.A. Inc. sold substantially all of its

retail outlets and other marketing assets in the Northeast region of the United

States to Defendant Cumberland Farms, Inc. The term "Cumberland Farms" as

used in this Complaint refers to Defendant Cumberland Farms, Inc.

       43.   Defendant Duke Energy Merchants, LLC is a Delaware limited

liability company qualified to do business in Maryland and its resident agent is the

Corporation Trust Inc., 300 East Lombard Street, Baltimore, Maryland 21202-

3219. Its principal place of business is at 5400 Westheimer Court, Houston, Texas

7705. The term "Duke Energy" as used in this Complaint refers to Defendant

Duke Energy Merchants, LLC.

       44.    Defendant El Paso Merchant Energy-Petroleum Company is a

Delaware limited liability company. Its principal place of business is 1001

Louisiana Street, Houston, Texas 77002 and its resident agent is the Corporation

Trust, Inc., 300 East Lombard Street, Baltimore, Maryland 21202-3219.

Defendant El Paso Merchant Energy-Petroleum Company was formerly known as,

did or does business as, and/or is the successor in liability to Kinder Morgan, Inc.,




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Coastal Refining and Marketing, Inc. and Coastal States Trading, Inc. The term

"El Paso" as used in this Complaint refers to Kinder Morgan, Inc., Coastal

Refining and Marketing, Inc. and El Paso Merchant Energy-Petroleum Company,

and their related entity Coastal States Trading, Inc.

       45.    Defendant Energy Transfer Partners, L.P. is a Delaware limited

partnership with its principal place of business at 3738 Oak Lawn Avenue, Dallas,

Texas 75219. Its agent is the Corporation Trust Company, Corporation Trust

Center, 1209 Orange Street, Wilmington, Delaware 19801. On October 5, 2012,

Defendant Energy Transfer Partners, L.P. through its wholly owned subsidiary,

Defendant ETP Holdco Corporation, merged with Defendant Sunoco, Inc.

Defendant Energy Transfer Partners, L.P. was formerly known as, did or does

business as, and/or is the successor in liability to Defendants ETP Holdco

Corporation and Sunoco, Inc. and their related entities Sun Oil Company (PA) and

Sun Oil Company.

       46.    Defendant Equilon Enterprises LLC is a Delaware limited liability

company qualified to do business in Maryland and its resident agent is the

Corporation Trust, Inc., 2405 York Road, Suite 201, Lutherville Timonium,

Maryland 21093-2264. Its principal place of business is 1209 Orange Street,

Wilmington, Delaware 19801. Defendant Equilon Enterprises LLC was formerly

known as, did or does business as, and/or is the successor in liability to Shell Oil




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Products US, Shell Oil Products Company LLC, Shell Oil Company and Texaco

Refining and Marketing Inc.

      47,    Defendant ETP HoIdco Corporation is a Delaware corporation with

its principal place of business at 1001 Louisiana Street, Houston, Texas 77022. Its

agent is the Corporation Service Company, 251 Little Falls Drive, Wilmington,

Delaware 19808. On October 5, 2012, Defendant Energy Transfer Partners, L.P.

through its wholly owned subsidiary, Defendant ETP Holdco Corporation, merged

with Defendant Sunoco, Inc. Defendant ETP Holdco Corporation was formerly

known as, did or does business as, and/or is the successor in liability to Defendant

Sunoco, Inc., and its related entities Sun Oil Company (PA) and Sun Oil

Company.

       48.   Defendant George E. Warren Corporation is a Massachusetts

corporation qualified to do business in Maryland and its resident agent is the

Corporation Trust, Inc., 2405 York Road, Suite 201, Lutherville Timonium,

Maryland 21093-2264. Its principal place of business is 50 Milk Street, Boston,

Massachusetts 02109. The term "George E. Warren" as used in this Complaint

refers to Defendant George E. Warren Corporation.

       49.   Defendant Getty Properties Corporation, aJk/a Getty Realty

Corporation, is a Delaware corporation qualified to do business in Maryland and

its resident agent in Maryland is the Corporation Trust, Inc., 2405 York Road,




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Suite 201, Lutherville Timonium, Maryland 21093-2264. Its principal place of

business is 125 Jericho Turnpike, Jericho, New York 11753.

      50.    Defendant Getty Petroleum Marketing Inc. ("GPMI") is a Maryland

corporation with its last principal place of business at 1500 Hempstead Turnpike,

East Meadow, New York 11554. During the relevant time period, from 1997 until

2000, GPMI was a wholly-owned subsidiary of Getty Properties Corporation,

a/k/a Getty Realty Corporation, and from 2001 until 2011, GPMI was a wholly-

owned subsidiary of Defendant Lukoil Americas Corporation. GPMI filed for

Chapter 11 bankruptcy in December, 2011. The bankruptcy was closed on Oct 30,

2017. At all times relevant herein, GPMI purchased policies of liability insurance,

paid the appropriate premiums, and was and is entitled to a defense and indemnity

for the claims brought in this action. This insurance was not part of the

bankruptcy estate and remains in force and available. The State's claim against

GPMI is limited to the recoverable proceeds of this insurance. GPMI was also

known as and did business as 0A0 Lukoil and Lukoil Americas Corporation, was

predecessor in liability to Lukoil North Americas, and successor in liability to

Getty Petroleum Marking Inc. and Getty Properties Corporation, also known as

Getty Realty Corporation. The terms "GPMI" and "Getty" as used in this

Complaint refer to Defendants Getty Petroleum Marketing Inc. and Getty

Properties Corporation, as well as their related entity Getty Realty Corporation.




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       51.    Defendant Gulf Oil Limited Partnership is a Delaware limited

partnership qualified to do business in Maryland and its resident agent in

Maryland is Cogency Global Inc., 1519 York Road, Lutherville, Maryland 21093.

Its principal place of business is 80 Williams Street, Wellsley Hills, Massachusetts

02401. Gulf Oil Limited Partnership is a subsidiary of Defendant Cumberland

Farms, Inc. and is controlled by Defendant Cumberland Farms, Inc. The term

"GOLP" as used in this Complaint refers to Defendants Gulf Oil Limited

Partnership and Cumberland Farms, Inc.

       52.    Defendant Guttman Energy, Inc. is a Pennsylvania corporation

qualified to do business in Maryland and its resident agent in Maryland is CSC-

Lawyers Incorporating Service Company, 7 Saint Paul Street, Suite 820,

Baltimore, Maryland 21202. Its principal place of business is 200 Speers Street,

Belle Vernon, Pennsylvania, 15012.

       53.    Defendant Hartree Partners, LP is a Delaware limited partnership

qualified to do business in Maryland and its resident agent is the Corporation

Trust, Inc., 2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093-

2264. Its principal place of business at 1185 Avenue of the Americas, New York,

New York 10036.

       54.    Defendant Hess Corporation is a Delaware corporation qualified to

do business in Maryland and its resident agent is the Corporation Trust Inc., 2405




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York Road, Suite 201, Lutherville Timonium, Maryland 21093-2264. Its principal

place of business is 1185 Avenue of the Americas, New York, New York 10036.

Defendant Hess Corporation was formerly known as, did or does business as,

and/or is the successor in liability to Amerada Hess Corporation, WilcoHess LLC,

Defendant Hess Oil Virgin Islands Corporation, Hess Energy Trading Company,

LLC, Defendant Hartree Partners, LP and Amerada Hess Corporation. The term

"Hess" as used in this Complaint refers to Defendant Hess Corporation and its

related entities WilcoHess LLC, Defendant Hess Oil Virgin Islands Corporation,

Hess Energy Trading Company, LLC, Defendant Hartree Partners, LP and

Amerada Hess Corporation.

      55.      Defendant Hess Oil Virgin Islands Corporation ("HOVIC") is a

wholly owned subsidiary of Defendant Hess Corporation that supplied MTBE

gasoline to the Maryland market. HOVIC is a United States Virgin Islands

corporation with its principal place of business located at 1185 Avenue of the

Americas, New York, New York 10036. Its agent is Britain H. Bryan, Esq.,

Bryant Barnes & Benoit, LLP, 1134 King Street, 2nd Floor, Christiansted, VI

00820.

         56.   Defendant Holtzman Oil Corporation is a Virginia corporation

qualified to do business in Maryland and its resident agent is John R. Barr, 10500

Little Patuxent Parkway, Suite 420, Columbia, Maryland 21044. Its principal




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place of business is 5534 North Main Street, Mount Vernon, Virginia 22842.

Holtzman Oil Corporation supplied and delivered significant amounts of MTBE

gasoline into and within Maryland. The term "Holtzman" as used in this

Complaint means Defendant Holtzman Oil Corporation.

      57.    Defendant Kinder Morgan G.P., Inc. is a Delaware corporation

qualified to do business in Maryland and its resident agent is Capitol Corporate

Services, Inc., 4th Floor, 3206 Tower Oaks Boulevard, Rockville, Maryland

20852. Its principal place of business is Suite 1000, 1001 Louisiana Street,

Houston, Texas 77002. Upon information and belief, Defendant Kinder Morgan

G.P., Inc. is a general partner of Defendant Kinder Morgan Operating L.P. "A."

      58.    Defendant Kinder Morgan Operating L.P. "A" is a Delaware limited

partnership and its resident agent is the Corporation Trust, Inc., 351 West Camden

Street, Baltimore, Maryland 21201-7912. Its last known principal place of

business is 1301 McKinney, Suite 3450, Houston, Texas 77010. Upon

information and belief, Defendant Kinder Morgan G.P., Inc. is a general partner,

and Kinder Morgan Energy Partners, L.P. is a limited partner, of Defendant

Kinder Morgan Operating L.P. "A."

       59.    Defendant Kinder Morgan Transmix Company, LLC is a Delaware

limited liability company qualified to do business in Maryland and its resident

agent is Capitol Corporate Service, Inc., 3206 Tower Oaks Bloulevard. 4th Floor,




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Rockville, Maryland 20852. Its principal place of business is Suite 1000, One

Allen Center, 500 Dallas Street, Houston, Texas 77002. Defendant Kinder

Morgan Transmix Company, LLC was formerly known as, did business as, and/or

is the successor in liability to Buckeye Refining Company, LLC. The term "KM

Transtnix," as used in this Complaint, refers to Defendant Kinder Morgan

Transmix Company, LLC and to Buckeye Refining Company, LLC.

      60.    Defendant Lukoil North America LLC ("LNA") is a Delaware

corporation with its principal place of business at 505 Fifth Avenue, 9th floor,

New York, New York 11554. Its resident agent is the Corporation Trust

Company, Inc., 351 West Camden Street, Baltimore, Maryland 21201-7912. LNA

is a wholly-owned subsidiary of defendant Lukoil Americas Corporation and an

indirect subsidiary of OA° Lukoil. LNA was formerly known as, did business as

and/or is the successor in liability to Defendants Getty Petroleum Marketing Inc.,

Lukoil Americas Corporation and/or OA° Lukoil. LNA is the successor-in-

interest to certain assets of GPMI. LNA owns property in the State of Maryland

and operates service stations in Maryland.

       61.   Defendant Lukoil Americas Corporation ("LAC") is a Delaware

corporation with its principal place of business at 505 Fifth Avenue, 9th floor,

New York, New York 11554. Its agent is the Corporation Trust Company,

Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801.




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LAC is an indirect subsidiary of OAO Lukoil. Defendant Lukoil Americas

Corporation was formerly known as, did or does business as, and/or is the

successor in liability to Defendants Getty Petroleum Marketing, Inc., Lukoil North

America LLC, OA° Lukoil and Lukoil Oil Company. LAC was a controlling

parent of GPMI from January, 2001 until February, 2011.

      62, Defendant Lukoil Pan Americas, LLC is a Delaware corporation

qualified to do business in Maryland and its resident agent is CSC-Lawyers

Incorporating Service Company, 7 Saint Paul Street, Suite 820, Baltimore,

Maryland 21202. Its principal place of business is Suite 400, 2711 Centerville

Road, Wilmington, Delaware 19808. Defendant Lukoil Pan Americas, LLC, is,

inter alia, a successor in interest to relevant assets of GPMI. The term "Lukoil" as

used in this Complaint refers to Defendants Lukoil Americas Corporation, Lukoil

North America LLC, Lukoil Pan Americas, LLC, PJSC Lukoil, Lukoil Oil

Company, °AO Lukoil and Getty Petroleum Marketing, Inc.

       63.   Defendant Marathon Oil Corporation is a Delaware corporation with

its principal place of business at 5555 San Felipe Road, Houston, Texas 77056. Its

agent is the Corporation Trust Company, Corporation Trust Center, 1209 Orange

Street, Wilmington, Delaware 19801. Defendant Marathon Oil Corporation was

formerly known as, did or does business as, and/or is the successor in liability to

Defendant Marathon Petroleum Company LP, Defendant Marathon Petroleum




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Corporation, Marathon Oil Company, Marathon DE, Marathon PC, Marathon

Holdings and Marathon Pipeline. The term "Marathon" as used in this Complaint

refers to Defendants Marathon Oil Corporation, Marathon Petroleum Company LP

and Marathon Petroleum Corporation, and their related entities Marathon Ashland

Petroleum LLC, Marathon Petroleum Company LLC, Marathon Oil Co.,

Marathon DE, Marathon PC, Speedway LLC, Hess Retail Holdings LLC,

Marathon Holdings and Marathon Pipeline.

      64,    Defendant Marathon Petroleum Company LP is a Delaware limited

partnership qualified to do business in Maryland and its resident agent is the

Corporation Trust, Inc., 2405 York Road, Suite 201, Lutherville Timonium,

Maryland 21093-2264.• Its principal place of business is 539 South Main Street,

Findlay, Ohio 45840. Defendant Marathon Petroleum Company LP was formerly

known as, did or does business as, and/or is the successor in liability to Marathon

Petroleum Company LLC and Marathon Ashland Petroleum Company LLC.

      65. Defendant Marathon Petroleum Corporation is a Delaware limited

liability company with its principal place of business at 539 South Main Street,

Findlay, Ohio 45840. Its agent is the Corporation Trust Company, Corporation

Trust Center, 1209 Orange Street, Wilmington, Delaware 19801. Defendant

Marathon Petroleum Corporation is the successor in liability to Speedway LLC

and Hess Retail Holdings LLC.




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      66.      Defendant Mobil Corporation is a Delaware corporation with its

principal place of business at 150 East 42nd Street, New York, New York 10017.

Its resident agent is the Prentice-Hall Corporation System, Inc., 7 Saint Paul

Street, Suite 1660, Baltimore, Maryland 21202. Defendant Mobil Corporation is

now known as, was formerly known as, did or does business as, and/or is the

predecessor or successor in liability to ExxonMobil Refining and Supply

Company, Exxon Chemical U.S.A., ExxonMobil Chemical Corporation,

ExxonMobil Chemical U.S.A, ExxonMobil Refining & Supply Corporation,

Exxon Company, U.S.A., Exxon Corporation, and Defendant Exxon Mobil

Corporation.

      67.      Defendant Motiva Enterprises LLC is a Delaware limited liability

company qualified to do business in Maryland and its resident agent is the

Corporation Trust, Inc., 2405 York Road, Suite 201, Lutherville Timonium,

Maryland 21093-2264. Its principal place of business is 500 Dallas Street,

Houston, Texas 77002. Defendant Motiva Enterprises LLC was formerly known

as, did or does business as, and/or is the successor in liability to Defendant Shell

Oil Products Company, LLC, Star Enterprise, Star Enterprise, LLC, and Texaco

Refining and Marketing, Inc. East (a/k/a TRMI East). The term "Motiva" as used

in this Complaint refers to Defendant Motiva Enterprises LLC, Defendant Shell




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Oil Products Company, LLC, Star Enterprise, and Texaco Refining and

Marketing, Inc. East (a/k/a TRMI East).

      68.    Defendant NuStar Terminals Operations Partnership LP is a

Delaware limited partnership qualified to do business in Maryland and its resident

agent is the Corporation Trust, Inc., 2405 York Road, Suite 201, Lutherville

Timonium, Maryland 21093-2264. Its principal place of business is 2400

Lakeside Bouldevard., 6th Floor, Richardson, Texas 75082. Defendant NuStar

Terminals Operations Partnership LP was formerly known as, did or does business

as, and/or is the successor in liability to Support Terminals Operating Partnership,

LP and ST Services, Inc. The term "NuStar" as used in this Complaint refers to

Defendant NuStar Terminals Operations Partnership LP and its related entities

Support Terminals Operating Partnership, LP and ST Services, Inc.

       69.    Defendant Phillips 66 Company is a Delaware corporation qualified

to do business in Maryland and its resident agent is CSC-Lawyers Incorporating

Service Company, 7 Saint Paul Street, Suite 820, Baltimore, Maryland 21202. Its

principal place of business is 600 N. Dairy Ashland Road, Houston, Texas 77079.

Defendant Phillips 66 Company was formerly known as, did or does business as,

and/or is the successor in liability to Defendant ConocoPhillips Company, Phillips

Petroleum Company, Conoco, Inc., Tosco Corporation, and Tosco Refining Co.




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      70.    Defendant PJSC Lukoil ("OAO Lukoil"), a/k/a Lukoil Oil Company,

OAO Lukoil, PAO Lukoil, Public Joint Stock Company Oil Company Lukoil,

Lukoil Holding Co and PJSC Oil Company Lukoil, is an Open Joint Stock

Company domiciled in Russia with its address at 11 Sretensky Boulevard,

Moscow Russia 101000. 0A0 Lukoil is publicly traded on global stock

exchanges, including the NASDAQ, under the name of Lukoil (OAO) a/k/a Lukoil

Holding Co. 0A0 Lukoil sells depository receipts through the Bank of New York

Mellon which allows investors in the United States to invest in OAO Lukoil.

OAO Lukoil is the parent corporation of a vertically integrated company and

Defendants LAC and LNA are subsidiaries of OAO Lukoil. OAO Lukoil was the

indirect parent of GPMI between 2000 and 2011. 0A0 Lukoil itself and through

its subsidiaries engages in the production of crude oil and operates refineries and

storage terminals in several countries.

       71.    Defendant The Premcor Refining Group Inc. is a Delaware

corporation qualified to do business in Maryland and its resident agent is the

Corporation Trust, Inc., 2405 York Road, Suite 201, Lutherville Timonium,

Maryland 21093-2264. Its principal place of business is One Valero Way, San

Antonio, Texas 79249. Defendant The Premcor Refining Group Inc. is a wholly-

owned subsidiary of and is controlled by Defendant Valero Energy Corporation.




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The term "Premcor" as used in this Complaint refers to Defendants The Premcor

Refining Group Inc. and Premcor USA Inc.

      72, Defendant Premeor USA Inc. is a Delaware corporation with its

principal place of business at 1700 East Putnam Avenue, Old Greenwich,

Connecticut 06870. Its agent is the Corporation Trust Company, Corporation

Trust Center, 1209 Orange Street, Wilmington, Delaware 19801. Defendant

Prerneor USA Inc. is a wholly-owned subsidiary of and is controlled by Defendant

Valero Energy Corporation.

      73.    Defendant 7-Eleven, Inc. is a Texas corporation qualified to do

business in Maryland and its resident agent is Corporate Creations Network Inc., 2

Wisconsin Circle, Number 700, Chevy Chase, Maryland 20815. Its principal

place of business is P.O. Box 219088, Dallas, Texas 75221.

      74.    Defendant Sheetz, Inc. is a Pennsylvania corporation qualified to do

business in Maryland and its resident agent is CSC-Lawyers Incorporating Service

Company, 7 Saint Paul Street, Suite 820, Baltimore, Maryland 21202. Its

principal place of business is 5700 Sixth Avenue, Altoona, Pennsylvania 16602.

       75.   Defendant Shell Oil Company is a Delaware corporation qualified to

do business in Maryland and its resident agent is the Corporation Trust, Inc., 2405

York Road, Suite 201, Lutherville Timonium, Maryland 21093-2264. Its principal

place of business is 910 Louisiana Street, Houston, Texas 77002. Defendant Shell




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Oil Company is a wholly-owned subsidiary of Royal Dutch Shell PLC. Defendant

Shell Oil Company was formerly known as, did or does business as, and/or is the

successor in liability to Deer Park Refining LP, Shell Oil, Shell Oil Products, Shell

Chemical, Shell Trading US, Defendant Shell Trading (US) Company, Shell

Energy Services, Texaco Inc., The Pennzoil Company, Defendant Shell Oil

Products Company LLC, Shell Oil Products Company, Star Enterprise, LLC, Star

Enterprise LLC, and Pennzoil-Quaker State Company. The term "Shell" as used

in this Complaint refers to Defendants Shell Oil Company and Shell Trading (US)

Company, and their related entities Deer Park Refining LP, Shell Oil, Shell Oil

Products, Shell Chemical, Shell Trading US, Defendant Shell Trading (US)

Company, Shell Energy Services, Texaco Inc., The Pennzoil Company, Defendant

Shell Oil Products Company LLC, Shell Oil Products Company, Star Enterprise,

LLC, Star Enterprise LLC, and Pennzoil-Quaker State Company.

       76. Defendant Shell Oil Products Company LLC is a Delaware

corporation with its principal place of business at 910 Louisiana Street, Houston,

Texas 77002. Its agent is the Corporation Trust Company, Corporation Trust

Center, 1209 Orange Street, Wilmington, Delaware 19801. Shell Oil Products

Company LLC was formerly known as, did or does business as, and/or is the

successor in liability to Shell Oil Products Company.




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      77.      Defendant Shell Trading (US) Company is a Delaware corporation

qualified to do business in Maryland and its resident agent is the Corporation

Trust, Inc., 2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093-

2264. Its principal place of business is 910 Louisiana Street, Houston, Texas

77002.

         78.   Defendant Sunoco, Inc. is a Pennsylvania corporation with its

principal place of business at 3801 West Chester Pike, Newton Square,

Pennsylvania 19703. Its agent is the Corporation Service Company, 251 Little

Falls Drive, Wilmington, Delaware 19808. Defendant Sunoco, Inc. was formerly

known as, did or does business as, and/or is the successor in liability to Sun Oil

Company (PA) and Sun Oil Company.

         79.   Defendant Sunoco, Inc. (R&M) is a Pennsylvania corporation

qualified to do business in Maryland and its resident agent is the CSC-Lawyers

Incorporating Service Company, 7 Saint Paul Street, Suite 820, Baltimore,

Maryland 21202. Its principal place of business is 1608 Walnut Street,

Philadelphia, Pennsylvania 19103. Defendant Sunoco, Inc. (R&M) was formerly

known as, did or does business as, and/or is the successor in liability to Sun

Company, Inc. (R&M), Sun Refining and Marketing Company, and Sun Oil

Company of Pennsylvania.




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      80.    Defendant Sunoco Partners Marketing & Terminals L.P. is a Texas

limited partnership qualified to do business in Maryland and its resident agent is

CSC-Lawyers Incorporating Service Company, 7 Saint Paul Street, Suite 820,

Baltimore, Maryland 21202. Its principal place of business is 3rd Floor, 1801

Market Street, Philadelphia, Pennsylvania 19103.

      81.    Defendant Sun Company, Inc. is a Pennsylvania corporation with its

principal place of business at 3801 West Chester Pike, Newton Square,

Pennsylvania 19073. Its resident agent is the Corporation Service Company, 251

Little Falls Drive, Wilmington, Delaware 19808. Defendant Sun Company, Inc.

was formerly known as, did or does business as, and/or is the successor in liability

to Sunoco, Inc. The term "Sunoco" as used in this Complaint refers to Defendants

Energy Transfer Partners, L.P., ETP Holdco Corporation, Sun Company, Inc.,

Sunoco, Inc., and Sunoco, Inc. (R&M), and their related entities Sunoco Inc., Sun

Company, Inc. (R&M), Sun Refining and Marketing Company, Sun Oil Company

of Pennsylvania, Sun Oil Company (PA), and Sun Oil Company.

       82.    Defendant Texaco Inc. is a Delaware corporation with its principal

place of business at 6001 Bollinger Canyon Road, San Ramon, California 94583.

Its resident agent is CSC-Lawyers Incorporating Service Company, 7 Saint Paul

Street, Suite 1660, Baltimore, Maryland 21202. Defendant Texaco Inc. was

formerly known as, did or does business as, and/or is the successor in liability to




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The Texaco Corporation and Texaco Refining and Marketing Inc. The term

"Texaco" as used in this Complaint refers to Defendant Texaco Inc., Texaco

Refining and Marketing, Inc, and The Texaco Corporation

      83.    Defendant TMR Company is a Delaware corporation qualified to do

business in Maryland and its resident agent is the Corporation Trust, Inc., 2405

York Road, Suite 201, Lutherville Timonium, Maryland 21093-2264. Its principal

place of business is 910 Louisiana, Houston, Texas 77002. Defendant TMR

Company was formerly known as, did or does business as and/or is the successor

in liability to Texaco Refining and Marketing Inc. and TRME Company (f/k/a

Texaco Refining and Marketing (East), Inc.),

      84.    Defendant TRMI-H LLC is a Delaware corporation with its principal

place of business at 6001 Bollinger Canyon Road, San Ramon, California 94583.

Its resident agent is the Corporation Service Company, 251 Little Falls Drive,

Wilmington, Delaware 19808. Defendant TRMI-H LLC was formerly known as,

did or does business as and/or is the successor in liability to TRMI Holdings Inc.,

Texaco Refining and Marketing Inc., Getty Refining and Marketing Company,

and Getty Oil Company (Eastern Operations), Inc.

       85.   Defendant Total Petrochemicals & Refining USA, Inc. is a Delaware

corporation qualified to do business in Maryland and its resident agent is the

Corporation Trust, Inc., 2405 York Road, Suite 201, Lutherville Timonium,




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Maryland 21093-2264. Its principal place of business is P.O. Box 2159, Dallas,

Texas 75221. The term "Total" as used in this Complaint refers to Defendant

Total Petrochemicals & Refining USA, Inc.

      86.    Defendant TransMontaigne Product Services, LLC

("TransMontaigne") is a Delaware corporation qualified to do business in

Maryland and its resident agent is the Corporation Trust, Inc., 2405 York Road,

Suite 201, Lutherville Timonium, Maryland 21093-2264. Its principal place of

business is 1670 Broadway, Suite 3100, Denver, Colorado 80202.

      87.    Defendant Valero Energy Corporation is a Delaware corporation

with its principal place of business at One Valero Way, San Antonio, Texas

78249. Its resident agent is the Corporation Trust Company, Corporation Trust

Center, 1209 Orange Street, Wilmington, Delaware 19801. Defendant Valero

Energy Corporation was formerly known as, did or does business as, and/or is the

successor in liability to Defendant Valero Marketing and Supply Company, Valero

Refining Company—New Jersey, Defendant Valero Refining and Marketing

Company, Ultramar Diamond Shamrock Corporation, Premcor Inc., Premcor

Refining, Premcor Pipeline and Valero PA. The term "Valero" as used in this

Complaint refers to Valero Refining Company—New Jersey and Defendants

Valero Energy Corporation, Valero Marketing and Supply Company, and Valero

Refining and Marketing Company, and their related entities Ultramar Diamond




                                       57
Shamrock Corporation, Premcor Inc., Premcor Refining, Premcor Pipeline, and

Valero PA.

       88.    Defendant Valero Marketing and Supply Company is a Delaware

corporation qualified to do business in Maryland and its resident agent is the

Corporation Trust, Inc., 2405 York Road, Suite 201, Lutherville Timonium,

Maryland 21093-2264. Its principal place of business is One Valero Way, San

Antonio, Texas 78249.

       89.    Defendant Valero Refining and Marketing Company is a Delaware

corporation with its principal place of business at One Valero Way, San Antonio,

Texas, 79249. Its agent is the Corporation Trust Company, Corporation Trust

Center, 1209 Orange Street, Wilmington, Delaware 19801.

       90.    Defendant Vitol S.A., a/k/a Vitol S.A., Inc., is a Swiss corporation

with its principal place of business at Boulevard du Pont d'Arve 28, Geneva,

Switzerland and its resident agent is the Corporation Trust, 300 East Lombard

Street, Baltimore, Maryland 21202. Defendant Vitol S.A. also does business as

Vitol S.A., Inc. The term "Vitol" as used in this Complaint refers to Defendant

Vitol S.A. and its related entity Vitol S.A., Inc.

       91.    Defendant Wawa, Inc. is a New Jersey corporation qualified to do

business in Maryland and its resident agent is the Corporation Trust, Inc., 2405




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York Road, Suite 201, Lutherville Timonium, Maryland 21093-2264. Its principal

place of business is 260 West Baltimore Pike, Wawa, Pennsylvania, 19063.

       92, Defendant Western Refining Yorktown, Inc. is a Delaware

corporation qualified to do business in Maryland and its resident agent is the

Corporation Trust Inc., 351 West Camden Street, Baltimore, Maryland 21201. Its

principal place of business is 1250 West Washington Street, Suite 101, Tempe,

Arizona 85281. Defendant Western Refining Yorktown, Inc. was formerly known

as, did or does business as, and/or is the successor in liability to Giant Yorktown,

Inc. The term "Western Refining" as used in this Complaint refers to Defendant

Western Refining Yorktown, Inc. and its related entity Giant Yorktown, Inc.

       93.    For purposes of this Complaint, "defendants" shall mean and refer to

all of the defendants named herein.

       94.    Any and all references to defendant, defendants, or a particular

defendant by name in this Complaint include all predecessors, successors, parents,

subsidiaries, affiliates, divisions, and agents of the referenced defendants.

       95.    In committing the acts alleged in this Complaint, defendants acted in

their own right and/or in the capacity of joint venturers, partners, agents,

principals, successors-in-interest, surviving corporations, transferees, transferors,

controllers, alter-egos, licensees, licensors, patent holders, and/or indemnitors of

each of the other defendants.




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      96.     To the extent any act or omission of any of the defendants is alleged

in this Complaint, the officers, directors, agents, employees, or representatives of

each such defendant committed or authorized each such act or omission, or failed

to adequately supervise or properly control or direct their employees while

engaged in the management, direction, operation, or control of the affairs of such

defendants, and did so while acting within the scope of their duties, employment,

or agency.

       97.    Without limiting the State's rights—including its rights to pursue

theories of liability other than those enumerated below in the claims set forth in

this Complaint—each of the defendants is jointly and severally liable to the State.

In addition to joint and several liability, the State may prove causation and liability

through one or more of the following legal doctrines: market-share liability,

concert of action liability, enterprise liability, concurrent liability and/or

commingled-product liability.

                               MTBE GENERALLY

       98.    At all times relevant hereto, defendants manufactured, distributed,

sold, stored or controlled MTBE gasoline in Maryland. Defendants represent

substantially all of the Maryland market for MTBE gasoline.




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       99.    MTBE gasoline is a fungible product and lacks traits that would

make it possible to identify the product as being manufactured, distributed, or sold

by a particular defendant.

       100. At all times relevant hereto, defendants routinely commingled their

MTBE gasoline with the MTBE gasoline of one or more of the other defendants,

and defendants produced, distributed, or sold such commingled MTBE gasoline in

Maryland.

       101. As a result of product fungibility and the commingling by

defendants, in certain instances of contamination—such as where releases of

MTBE gasoline have occurred at sites not branded by particular defendants or

where there are no records tracing the products from particular defendants to the

sites —it may not be possible to identify the original manufacturer of the MTBE

gasoline.

       102. Any inability of the State to identify the original manufacturer of the

MTBE gasoline released into the groundwater in particular instances at particular

sites is a result of the fungibility of the products, defendants' actions in

commingling their products and/or the foreseeable actions of others, and not as a

result of any action or inaction by the State.




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                     MTBE AS A GASOLINE ADDITIVE

      103. MTBE is a chemical compound produced by combining methanol, a

derivative of natural gas, and isobutylene, a byproduct of the gasoline-refining

process. Because methanol and isobutylene are readily available compounds,

MTBE was inexpensive to manufacture. As used in this Complaint, MTBE means

not only methyl tertiary butyl ether, but also the degradation byproducts of, and

contaminants in, commercial-grade MTBE, including tertiary butyl alcohol

("TBA").

      104. TBA is used as a raw material in the production of isobutylene. It

also is an intermediate product of MTBE biodegradation. As a result, TBA often

appears in groundwater where MTBE contamination is present.

      105. Crude oil is converted to petroleum products, including gasoline, at

refmeries. Many of the defendants have owned and operated petroleum refineries.

At the refinery, MTBE—which may have been manufactured by a separate

defendant and purchased by a refinery defendant or which may have been

manufactured by a defendant at the refinery itself—was blended into gasoline as

an octane enhancer and/or as an oxygenate for use in areas of the United States,

including Maryland, where oxygenated gasoline was sold. MTBE was also splash

blended into gasoline at terminals by adding it to truck tanks after those tanks were

filled with gasoline from the terminal.




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 THE ROUTINE SALE OF COMMINGLED GASOLINE IN MARYLAND

      106. The gasoline sold at a gas station in Maryland (and elsewhere across

the nation) generally is not the product of just one manufacturer. The gasoline

present in any particular station's underground storage tanks, whether a branded or

non-branded station, is often a commingled product because of how gasoline, after

it is manufactured, is transported, stored, and distributed prior to reaching a'

particular gas station for retail sale. Once manufactured by a refiner to certain

industry standards, a batch of gasoline is then transported for marketing in

different regions of the United States via a network of national and regional

pipelines, tank ships and barges. Through these pipelines and other bulk-transport

means, the gasoline is sent to common storage tanks located at terminals

throughout the country. As the gasoline is piped into storage tanks at these

terminals, it often becomes mixed or blended together. From the terminals, it is

then further transshipped in bulk by pipeline or other transportation means to

secondary terminals or depots, where again it is commingled with other refiners'

gasoline. From these secondary terminals or depots, gasoline is then taken by

truck to gas stations for retail sale.




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     MTBE IS A PERSISTENT ENVIRONMENTAL CONTAMINANT

      107. Defendants added MTBE to their gasoline products both as an

oxygenate and as an octane enhancer. Oxygenated fuel is very similar to normal

gasoline except that it contains an oxygenate intended to reduce tailpipe emissions

of carbon monoxide.

       108. MTBE does not occur naturally in the environment and is introduced

into the environment solely by the actions of humans.

       109. MTBE enters the environment through disposals, deposits, releases,

leaks, overfills, spills, discharges and evaporative releases (collectively "releases")

from a variety of sources, principally releases from MTBE gasoline storage and

delivery systems.

       110. When released into the environment, MTBE behaves differently than

other constituents of gasoline such as benzene, toluene, ethylbenzene, and xylene

(collectively, "BTEX Compounds"). MTBE separates from other gasoline

constituents in the presence of moisture. In contrast to the BTEX Compounds,

MTBE has a strong affinity for water, it is easily dissolved and it does not readily

adhere to soil particles, making it more mobile and able to migrate great distances

from the source of the release. MTBE is more than 30 times more soluble in water

than BTEX Compounds.




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      111. In groundwater, MTBE moves freely at approximately the rate of the

water's movement, unlike BTEX Compounds, which tend to adhere to soil and/or

float on the surface of water. This renders MTBE more difficult to locate and

remediate than BTEX Compounds.

      112. MTBE can also migrate into subsurface-soil regions, from where it

may leach into nearby groundwater for many years following the initial release.

      113. MTBE also is more persistent than BTEX Compounds because it

does not readily biodegrade in groundwater. If and when MTBE does degrade in

the environment, the process creates other contaminants, including TBA, which

are similarly problematic in groundwater.

       114. Because of its chemical and physical characteristics, when MTBE

gasoline is released into the environment, it migrates farther and faster through

soil and water than gasoline without MTBE, it penetrates deeply into aquifers, it

resists biodegradation, and it results in persistent contamination. As a result,

MTBE is and has been more difficult and more expensive to remove from

groundwater than other contaminants. TBA also increases the risks of adverse

health and environmental harms, as well as the costs to fully remediate

contaminated sites.

       115. MTBE has widely contaminated and continues to contaminate the

waters of the State throughout the State.




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      116. The widespread MTBE contamination of groundwater in the State as

a result of defendants adding MTBE to gasoline was substantially certain and

foreseeable by defendants.

         DEFENDANTS' PRODUCTION AND USE OF MTBE AS A
           CHEAP AND PROFITABLE GASOLINE ADDITIVE

       117. In the late 1970s, pursuant to section 211 of the Clean Air Act, 42

U.S.C.A. § 7545 ("CAA"), the United States Environmental Protection Agency

("EPA") registered MTBE as a fuel additive that did not cause or contribute to the

failure of any emission control device or system. ARCO began commercial

production of MTBE in April 1979, less than two months after the EPA approved

MTBE as a blending component of unleaded gasoline. ARCO sold MTBE to

other oil refiners to be blended into gasoline as an octane enhancer.

       118. As the market for MTBE grew, other oil refiners also began

producing MTBE for blending into gasoline. In 1979, MTBE production was

estimated at approximately 75 million gallons.

       119. After 1979, defendants started manufacturing, distributing and/or

selling gasoline with MTBE in concentrations typically at less than 1% by volume

in regular gasoline and 2-8% by volume in premium to replace lead and boost the

octane level in higher grades of gasoline.

       120. By 1985, MTBE production in the United States was estimated at

420 million gallons per year. In terms of weight, MTBE ranked 44th among the


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top 50 chemicals produced in the United States. Virtually all of this MTBE was

blended into gasoline in concentrations of up to 11% by volume, making MTBE

among the largest components of a typical gallon of gasoline. Overall, MTBE was

present in about 10% of the nation's gasoline, though it was more common in the

eastern United States than in the western United States.

       121. When, prior to 1990, the EPA began considering options to reduce

air pollution, the petroleum industry, including some of the defendants, lobbied

Congress to adopt the Reformulated Gasoline Program ("RFG Program") as part

of the 1990 Clean Air Act Amendments. According to the EPA, "The concept of

reformulated gasoline (RFG) was originally generated, developed and promoted

by industry, not the EPA or other parts of the federal government."

       122. In the 1990 Clean Air Act Amendments, Congress established the

RFG Program in Section 211(k) of the CAA, 42 U.S.C.A. § 7545(k). The RIG

program mandated the use of reformulated gasoline containing at least 2% oxygen

by weight in those areas of the country with the worst ozone or smog problems.

Portions of Maryland were subject to the RFG program. If a particular area of the

country, such as a large metropolitan area, was designated as a "non-attainment

area" for carbon monoxide, the EPA was authorized to direct the area to

participate in the RFG Program.




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      123. In 1992, in conjunction with the CAA Amendments, the EPA

initiated the Oxygenated Fuel Program, which required at least 2.7% oxygen by

weight in gasoline in certain metropolitan areas to reduce carbon monoxide during

the fall and winter months.

      124. Much of the gasoline sold in non-attainment areas under the RFG

and Oxygenated Fuel Program exceeded the minimum 2% or 2.7% oxygenate

requirements of those programs. MTBE comprised up to 15% of every gallon of

gasoline used in those areas. MTBE gasoline also comprised a significant amount

of the gasoline used in areas that were not participating in the RFG Program.

       125. Defendants started shipping high MTBE-content gasoline for sale in

certain metropolitan areas, including in Maryland, in 1992 as part of the

Oxygenated Fuel Program. In or around January 1995, defendants introduced into

the stream of commerce in Maryland MTBE gasoline containing even higher

levels of MTBE.

       126. At its peak, most, if not all, gasoline supplied to the Maryland RFG

areas had high concentrations of MTBE. In addition, MTBE gasoline containing

elevated concentrations of MTBE was often sold at locations throughout Maryland

outside of RFG areas at the discretion of defendants.

       127. MTBE was not the only viable option available to defendants to

meet RFG requirements. The CAA Amendments require the use of some




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oxygenate, but they do not require that oxygenate to be MTBE. MTBE became

defendants' "oxygenate of choice" because it was the most inexpensive oxygenate

to produce and offered defendants the highest profit margin. Defendants could

manufacture MTBE from their already available refinery byproducts and could

therefore reduce the costs of treating their waste stream and at the same time avoid

purchasing a different viable oxygenate, such as ethanol, from a third party.

       128. The 1992 CAA Amendments gave defendants four years to build the

supply chains and infrastructure necessary to meet RFG requirements. Defendants

chose, for economic reasons, to invest in MTBE, rather than in safer alternative

oxygenates, such as ethanol. Defendants chose to construct MTBE storage and

delivery systems that Defendant Exxon has described as "incompatible" with the

distribution of ethanol gasoline in the northeast United States. Defendants' choice

to lock themselves into the use of MTBE was not technically or financially

necessary—defendants switched to ethanol when it ultimately was in their

financial interest to do so.

       129. Before the 1980s, production and sales totals for MTBE were

negligible, but by 1996, MTBE ranked second among all organic chemicals

produced in the United States, with virtually the entire production going into

gasoline.




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      130. The United States Geological Survey ("USGS") has reported that

MTBE is the second most frequently detected volatile organic chemical in

groundwater in the United States. MTBE-contarninated wells have been found

throughout the United States. The USGS tests groundwater annually and has

detected MTBE in over 20% of aquifers tested in places where high MTBE-

content gasoline was used.

          DEFENDANTS KNEW THAT MTBE WAS GOING TO
            CONTAMINATE GROUNDWATER AND WAS
           MORE DIFFICULT TO REMEDIATE THAN BTEX

      131. At all times relevant hereto, defendants recognized the need to assess

and study the long-term risks of MTBE contamination, including the potential

health effects of low-level ingestion of MTBE, as well as the difficulties

associated with remediating MTBE releases. Defendants' communications with

each other, as well as their internal documents, evidence defendants' awareness of

the likelihood that MTBE would cause widespread contamination of groundwater.

       132. By virtue of their economic power and analytical resources,

including their employment of hydrogeologists, chemists, engineers, and

toxicologists, defendants have at all times relevant known or been in a position to

know the threats which MTBE poses to the environment in Maryland, including to

groundwater, and to human health.




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      133. Defendants had a duty to disclose what they knew about the risks

posed by MTBE and to act in accordance with the truth about MTBE and its

ability to contaminate the environment.

      134. Defendants knew at least as early as 1980 of the harmful impact of

MTBE and its propensity to contaminate groundwater.

      135. Shell was aware of MTBE's propensity to contaminate groundwater

by the early 1980's when Shell responded to MTBE contamination caused by a

release at a Shell station in Rockaway, New Jersey.

      136. The American Petroleum Institute ("API") formed a Toxicology

Committee in or around 1980. The API is a trade association that represents the

domestic petroleum industry, including many of the defendants, on a broad range

of topics. The Toxicology Committee included representatives of various

defendants, including Exxon, Mobil, Shell, ARCO, Tosco, and Chevron.

       137. API's Toxicology Committee pursued a specific program to study

MTBE. Meeting minutes reveal that committee members shared information and

repeatedly discussed MTBE's propensity to contaminate groundwater. The

Committee specifically acknowledged the need for certain toxicological

information due to MTBE's propensity to contaminate groundwater, and due to

the likelihood that MTBE would contaminate public and private drinking water

sources. Neither the Committee nor defendants, however, followed through with




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any of the necessary studies. All independent studies that have been performed on

the carcinogenicity of MTBE have found a correlation between exposure to

MTBE and cancer, across all species and genders tested. Defendants, rather than

encouraging additional toxicology studies, improperly encouraged EPA to

question existing studies that concluded MTBE was a probable carcinogen.

      138. When three defendants (ExxonMobil, Shell and Chevron) finally

decided in 2010 to fund a study on the carcinogenicity of M I BE, they employed

the Hamner Institute (formerly known as the Chemical Industry Institute of

Toxicology) to conduct the study. ExxonMobil, Chevron and Shell paid each

person who participated in the conduct of the Hamner study, including the study's

"advisory board" members. An attorney for Shell from the MTBE multidistrict

litigation proceedings participated in initial meetings to structure the Hamner

study. That attorney's name, however, was removed from the official minutes of

the study meetings. When the study still showed a statistically significant increase

in astrocytomas, a rare brain cancer, the authors of the study chose to compare the

results to an outdated and outlier control group in order to minimize the statistical

importance of the results.

       139. In April 1984, an internal Exxon memorandum raised concerns

about manufacturing MTBE gasoline, stating there are "ethical and environmental

concerns that are not too well defined at this point." Among these concerns was




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the "possible leakage of s/s [service station] tanks into underground water systems

of a gasoline component [MTBE] that is soluble in water to a much greater extent

[than other components of gasoline]." The memorandum proposed that a study be

undertaken to thoroughly review the issue with management, including a

suggested proviso that any decision to manufacture MTBE gasoline should be

reviewed by E. J. Hess, then the "Executive in Charge" of Exxon.

       140. A second internal Down memorandum in April 1984 contained

another evaluation of the consequences of MTBE use. The memorandum noted

that MTBE had much higher solubility than other gasoline components and this

could lead to "higher levels of soluble organic contamination when [MTBE]

gasoline comes in contact with water."

       141. A third internal Exxon memorandum, prepared in June 1984,

reported field information concerning groundwater contamination with MTBE.

The memorandum reveals that Exxon personnel had communications with Shell

personnel who had found that MTBE had a very low odor threshold of about 5

parts per billion ("ppb"), a much lower odor threshold when compared to other

constituents of gasoline. This finding, the memorandum observed, is consistent

with the recognized characteristics of ethers which "generally have a more

objectionable odor than the alcohols or aromatic hydrocarbons." A lower odor

threshold requires very high levels of cleanup efficiency to remove a contaminant,




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in this case MTBE, from groundwater to the point where it no longer can be

detected.

      142. An internal ARCO memorandum, dated June 14, 1984, summarized

a meeting of the API's "Ad Hoc Committee" on MTBE, which included

representatives from Shell, Texaco, Phillips, and ARCO. While this committee

focused primarily on toxicological issues involving MTBE, the memorandum

noted that "MTBE is a possible contaminant of groundwater, especially in

association with leaking gasoline storage tanks." The committee members

decided to distribute funds to a sister API committee—the Environmental Biology

and Community Health Committee—for the purpose of studying taste and odor

issues associated with MTBE.

       143. In August 1984, an internal Exxon memorandum evaluated the

consequences of adding MTBE to Exxon's gasoline. The memorandum cautioned

that a large-scale addition of MTBE to Exxon's gasoline would likely increase the

number of well-contamination incidents by a factor of three and increase the cost

of cleaning up these incidents by a factor of five. The memorandum cited a

number of reasons supporting this conclusion, including:

       a.    MTBE would travel farther than the other constituents of gasoline,

       creating the need to clean up larger plumes;




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      b.     MTBE's low odor and taste thresholds would force the need to

      cleanup to more stringent levels; and

      c.     the ineffectiveness of carbon-adsorption clean-up techniques would

      force greater use of more expensive air-stripping technologies to remediate

      a MTBE release.

      144. According to the results of a 1981 API Tank and Piping Leak

Survey, an estimated 90% of steel underground tanks failed due to corrosion.

      145. An internal Chevron memorandum, dated May 23, 1986, recognized

MTBE's propensity to contaminate groundwater and soil. The memorandum

recognized: (a) the relatively high water solubility of MTBE, the impracticality of

removing it from water with activated carbon; (h) the fact that using air stripping

to remove it from water would be difficult; and (c) the fact "that MTBE will

migrate more rapidly with the groundwater in the soil." The memorandum

recommended that additional testing of MTBE should be conducted,

       146. An internal Chevron memorandum entitled "Marketing

Environmental Concerns Regarding the Use of MTBE in Mogas [Motor

Gasoline]," dated June 11, 1986, identified a number of concerns by Chevron

employees about the potential increased use of MTBE by Chevron. Referencing a

cleanup in Maryland where MTBE was a contaminant, as well as an API study of

MTBE, the memorandum stated MTBE had "several disturbing properties,"




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including: (a) a relatively high solubility and mobility; (b) low odor and taste

thresholds; (c) a low rate of biodegradation; and (d) a high degree of difficulty for

removing it from water. The memorandum noted concern over the expected

increased utilization of MTBE in Chevron gasoline because, "MTBE utilization

could increase the cost to clean up leaks at service stations and terminals."

       147. In December 1986, an internal Amoco memorandum addressing

potential groundwater research proposals stated that groundwater contamination

was the "environmental issue of the decade" and one that had the potential to cost

Amoco millions of dollars. One of the proposed research projects discussed was

to examine the propensity for MTBE to be absorbed into monitoring-well-casing

materials, thus compromising the possibility of an early detection of a gasoline

release and the opportunity to minimize remediation costs that early detection

provides.

       148. In May 1987, an internal Exxon memorandum analyzed data on

MTBE groundwater contamination in New York State and elsewhere in the

region, including laboratory analyses verifying MTBE in water samples from three

wells in Harrison, New York, and from four wells in Port Jefferson, New York. In

this report, Exxon stated: "We agree that MTBE in gasoline will dissolve in

groundwater at a faster rate than any gasoline hydrocarbon, including benzene."

The report further stated that lbjecause of its more frequent occurrence, even




                                          76
when other hydrocarbons are not found, we feel it is important for you to be aware

of MTBE. From an environmental and engineering standpoint, you may need to

be informed of its presence to assist you in responding effectively to regulatory

and remedial requirements."

       149. An internal 1987 Chevron memorandum raised concerns about the

dangers of MTBE gasoline released into the environment:

              Two considerations impact MTBE. One is potential health
       risk, and the second is increased solubility over normally regulated
       constituents of interest, i.e. benzene, toluene and xylene (BTX).

              MTBE is significantly more soluble in water than BTX.
       Consequently, the dissolved "halo" from a leak containing MTBE
       can be expected to extend farther and spread faster than a gasoline
       leak that does not include MTBE as one of its constituents.

              Further compounding the problem of increased solubility,
       MTBE is more difficult to remove from groundwater using current
       technology (air stripping or carbon adsorption). Because of its lower
       volatility, MTBE requires more than double the air stripping
       capacity to reach a 95 percent reduction. Removal using carbon
       adsorption is even worse. MTBE breaks through activated carbon
       four times faster than BTX.

       150. Amoco prepared an internal document, dated July 1, 1992,

concerning MTBE, entitled "Guideline for Handling & Storage of Ethers Used in

Gasoline." The document stated, "Our new blended gasoline products containing

ethers will also require increased levels of attention, exceeding that associated

with our storage and handling of traditional gasoline products." The warnings

contained in the document were intended for Amoco personnel. No warnings


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were provided by Amoco, however, to marketers, customers, others handling

MTBE gasoline, or regulators informing them of the extra care required when

handling this product.

       151. Amoco further emphasized in its July 1, 1992, document that MTBE

gasoline required greater care in handling: "The avoidance of environmental

incidences and serious environmental damage will require a greater vigilance than

might be common practice for non-oxygenated gasolines." The guidelines also

recommended the use of double-walled storage tanks with leak detection systems.

The information and analysis contained in this document were based, in part, on

Amoco's knowledge of MTBE's negative properties (flammability, solubility, low

rate of biodegradation) and Amoco's experience cleaning up an MTBE release at

one of its terminals.

       152. In 1992, an internal Shell white paper described the dangers of

MTBE once released into the environment. The document stated that MTBE is

nearly 25 times more soluble than benzene and, therefore, an MTBE plume

emanating from a gasoline spill was expected to move faster and farther than a

benzene plume. The white paper indicated that MTBE does not biodegrade in the

subsurface environment. It further indicated that MTBE has a low odor and taste

threshold, and that "at many locations odor and taste criteria may determine clean-

up levels." The white paper stated:




                                        78
             MTBE has had impact on groundwater management at only a
      few Shell marketing terminals and service stations to date.
      However, as the usage of this oxygenate begins to increase, a
      stringent clean-up criteria for MTBE will become adopted in more
      states [arid] we should anticipate increased concerns over how its
      release to groundwater is managed.

      153. In 1994, Amoco determined to utilize MTBE rather than ethanol as

its oxygenate in the U.S. east and south. Amoco elected to do so despite the

information in its internal memoranda that MTBE was highly water soluble,

extremely mobile in groundwater, would migrate quickly off site from service-

station-release sites, was not biodegradable under natural conditions and, as a

result, would foreseeably cause significant environmental contamination at

hundreds of its service stations. Amoco noted in its memoranda that its own

studies showed "MTBE has nil biodegradability and moves with groundwater

quickly," and that MTBE "poses major estimated costs for accidental discharges

of gasoline with MTBE." On the other hand, ethanol, a competitor oxygenate,

was found by Amoco to be "easily biodegraded" and to "present no more

estimated costs [to remediate] than gasoline itself."

       154. In 1994, Amoco estimated that the annual environmental

remediation costs for service stations alone (specifically not including the potential

costs of remediation for refineries, pipelines, and terminals) that would result from

the use of MTBE in its gasoline would be, as of 2002, $183 million to $211

million per year compared with $33 million if non-oxygenated gasoline was used.



                                          79
However, in apparent reference to indemnification programs like the State's Oil

Control Program and Maryland Oil Disaster, Containment, Clean-Up and

Contingency Fund, Amoco noted that "state reimbursements will reduce

remediation costs by 10%." Accordingly, despite recognizing internally and

knowing the harmful effects of MTBE on the environment and concluding that

using ethanol would have no more impact on the environment than conventional

gasoline, Amoco chose MTBE as its gasoline additive to meet its oxygenate

requirements for RFG in the east and south, including Maryland.

      155. In January 1996, a CITGO memorandum summarized a conference

call on MTBE among members of the API's Soil and Groundwater Technical Task

Force. It reported that "[t]he consensus of the API member company remediation

experts is that MTBE poses a serious future remediation concern." This consensus

was based, in part, on the fact that MTBE did not naturally biodegrade, and on the

fact that as of 1996, MTBE already in the ground had occurred as a result of

gasoline spills which were 1-2% MTBE, but that by 1996, MTBE concentrations

in 1996 had substantially increased to the range of 12-16%.

      156. An internal Shell document prepared in June 1997 shows that Shell

was aware that remediating a MTBE spill would be difficult:

             MTBE is relatively quite soluble in water (compared to other
      components in gasoline, like BTEX), and it moves essentially with
      the groundwater, thus MTBE tends to "lead the plume" whenever
      there is a gasoline spill or leak. MTBE also has a very low


                                        80
      biodegradation potential, which makes it more difficult to remove
      from groundwater than other gasoline components such as BTEX.

      157. Hess discussed in a 1998 internal document the reasons that MTBE

created environmental risks and then stated "Releases involving gasoline which

contains MTBE pose a significantly greater cost to remediate and have greater

potential for offsite migration. As such, these facts underscore the importance of

release prevention and rapid leak detection programs."

      158. Similarly, Texaco in a 1998 document specifically discussed the

need to handle MTBE gasoline differently at service stations.

      159. A February 2002 Shell "MtBE Policy Review" document noted with

respect to warnings regarding MTBE: "At present little, if any, information is

supplied to our customers on the environmental aspects of storing gasoline that

contains MtBE . . . . Some customers could claim that, in the absence of such

information or vetting, we are responsible for their remediation costs. . . ."

       160. At all times relevant to this litigation, defendants knew or should

have known of the substantial harm caused by expected MTBE gasoline releases

and the substantial difficulty of remediating groundwater and soil contaminated by

MTBE.




                                          81
        DEFENDANTS PUBLICLY DEFENDED AND PROMOTED
           MTBE DESPITE THEIR KNOWLEDGE OF THE
        ENVIRONMENTAL RISKS POSED BY MTBE RELEASES

       161. Defendants distributed, defended, and promoted the use of MTBE

and/or MTBE gasoline in Maryland when they knew or should have known that

MTBE releases from various MTBE gasoline storage and delivery systems were

likely, and that such releases could and would pollute the large quantities of the

waters of the State.

       162. Defendants defended and promoted the use, marketing and

distribution of MTBE and/or MTBE gasoline when they knew or should have

known about the unique and difficult problems to remediate MTBE contamination

from groundwater and soil, which problems could and would increase the costs

and time associated with such remediation.

       163. In 1986, Peter Garrett and Marcel Moreau of the Maine Department

of Environmental Protection authored a paper titled "Methyl Tertiary Butyl Ether

as a Groundwater Contaminant" ("Garrett-Moreau Report"). Based upon the

authors' analysis of approximately 30 Maine wells contaminated with MTBE, the

report stated that: (a) groundwater contaminated with MTBE is difficult to

remediate; (b) MTBE is more soluble than the other constituents of gasoline and

therefore a plume of MTBE in groundwater will be more extensive than the plume

of the other gasoline components; and (c) MTBE has a distressing "terpene-like"




                                        82
odor in low concentrations. The Garrett-Moreau Report's authors recommended

that MTBE be banned as a gasoline additive, or, at least, be stored in double-

contained facilities.

       164. The Garrett-Moreau Report authors planned to present their report at

the "Petroleum Hydrocarbons and Organic Chemicals in Ground Water

Conference," in November 1986. This conference was jointly sponsored by the

National Well Water Association and the API.

       165, Before its publication and public presentation, a draft of the Garrett-

Moreau Report was widely circulated in the oil industry. Oil industry

representatives, including many of the defendants, joined forces to pressure the

authors to radically revise their negative conclusions and recommendations about

MTBE, and/or to discredit the report in order to protect and maintain MTBE's

competitive advantage as a gasoline additive.

       166. On or about December 23, 1986, a staff member of the API's

Groundwater Technical Task Force ("GTTF") forwarded the Garrett-Moreau

Report to other GTTF members, including representatives of Shell and Exxon.

Comments from GTTF members concerning the report culminated in a letter from

the API to the National Well Water Association. The letter attacked the Garrett-

Moreau Report:

             The [Garrett-Moreau Report] authors' "recommendations"
       that MTBE . . , be either banned as gasoline additives or require


                                        83
      double-lined storage is clearly a policy statement and not an
      objective credible scientific conclusion. Further, data presented in
      this paper as well as those generated by ongoing API research
      indicate that such a policy is reactionary, unwarranted, and counter-
      productive.

      167. Amongst themselves, however, defendants knew their criticisms of

the Garrett-Moreau Report were inaccurate and misleading. For example, ARCO,

in a communication to others within the oil industry stated in a letter dated

February 4, 1987, "we don't have any data to refute comments made in the paper

that MTBE may spread farther in a plume or may be more difficult to

remove/clean up than other gasoline constituents."

      168. In 1986, the federal Interagency Testing-Committee ("ITC"),

established pursuant to the Toxic Substances Control Act, recommended testing

and review to assess MTBE's health and environmental risks. The ITC

characterized MTBE as having relatively high water solubility, and stated that

MTBE's persistence in groundwater following spills was unknown but that it was

likely not "to be readily biodegradable." The ITC recommended chemical fate

monitoring of MTBE to determine the risk MTBE poses to the environment. The

ITC also recommended additional medical testing of MTBE and invited written

comments. The oil industry, including defendants, mobilized to convince the EPA

that additional testing of MTBE was not needed.




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       169. On or about December 12, 1986, ARCO, on behalf of and/or with

the approval of defendants, responded to the 1986 ITC Notice in an effort to derail

further testing of MTBE. ARCO' s comments included a critique of the

information review of MTBE on which the ITC had relied. ARCO' s submission

stated that its "critique of the report revealed that some erroneous assumptions had

been made that cause the haznds of MTBE to be seriously overestimated." In

further comments to the EPA, ARCO also stated:

              Characteristics - Moderate water solubility is reported.
       However, an ARCO Technical Bulletin states that "MTBE is only
       slightly soluble in water. . ."
                                       * **



             The . . . report states that potential environmental exposure
       is "high." This conclusion is not supported by the available
       information.

                                       * **


              Exposure from accidental spills of MTBE could occur, but
       should be regarded as a minimal possibility. The closed nature of
       the manufacturing and transportation process reduces worker
       exposure and product loss. Training and safety programs also lower
       the possibility of accidental spills. Many current programs at EPA
       and industry are underway to monitor and reduce the possibility of
       gasoline loss from leaking underground storage tanks . . . . MTBE
       losses would be extremely small from this source.

                                       * **



        VI. Environmental Information




                                         85
            As has been reportedly stated, environmental entry would not
      occur in every stage of the gasoline marketing chain . . .
      Environmental entry of MTBE from this course would be
      considerably less than the report indicates.

             MTBE is only slightly soluble so environmental fate
      projections based on this assumption will not be correct.

      170. ARCO's comments to EPA in December 1986 in response to the

ITC Notice, which were made with other defendants' explicit or implicit approval,

were intentionally false and misleading when made, improperly downplayed the

risks of MTBE contamination of groundwater, and omitted material facts known

to ARCO and other defendants at the time.

      171. On or about December 17, 1986, EPA held a Public Focus Meeting

to hear comments on the need for additional testing of MTBE. ARCO and Exxon

made a presentation supporting the industry position that additional medical

testing of MTBE was unnecessary.

       172. In or around early 1987, a multi-company task group was formed by

defendants, known as the "MTBE Committee." This committee's express

purpose, as set forth in a written agreement, was "addressing the environmental,

health, safety, legislative and regulatory issues concerning MTBE of importance to

the public and the producers and users of MTBE." Defendants' MTBE

Committee included representatives of defendants ARCO, BP Amoco, Chevron,




                                        86
CITGO, Exxon, Shell and Sunoco, among others industry companies. Neither

EPA nor any government entities were included in the Committee.

       173. On January 29, 1987, the MTBE Technical Subcommittee, a

subcommittee of defendants' MTBE Committee, held its first meeting to

coordinate their "plan of attack" on the 1986 ITC recommendations.

       174. Although defendants were aware that EPA was interested in

obtaining more information about MTBE in groundwater, defendants were not

forthcoming in their responses to EPA, and defendants failed to fully and fairly

disclose what they knew about MTBE' s environmental and health hazards.

       175. On or about February 12, 1987, ARCO responded to the EPA's

request for information about "data gaps" concerning MTBE's environmental and

health effects, stating:

               Item D requests more information on the presence and
       persistence of MTBE in groundwater. We are not aware of any
       incidents where MTBE contaminated groundwater at manufacturing
       facilities. Where gasoline containing MTBE is stored at refineries,
       terminals, or service stations, there is little information on MTBE in
       groundwater. We feel there are no unique handling problems when
       gasoline containing MTBE is compared to hydrocarbon-only
       gasoline.

       176. ARCO knew at the time these statements were false and misleading.

       177. On or about February 27, 1987, defendants' MTBE Committee

submitted written comments to the EPA in an effort to deter EPA from requiring

additional health and environmental testing of MTBE. The information provided


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to EPA by defendants was misleading and false. Defendants falsely represented,

inter alia, that MTBE is only slightly soluble in water, that potential

environmental exposure is not high, and that MTBE has excellent biodegradation

characteristics. The defendants' MTBE Committee's statement to EPA further

falsely stated,

               [T]here is no evidence that MTBE poses any significant risk
       of harm to health or the environment, that human exposure to MTBE
       and release of MTBE to the environment is negligible, that sufficient
       data exists to reasonably determine or predict that manufacture,
       processing, distribution, use and disposal of MTBE will not have an
       adverse effect on health or the environment, and that testing is
       therefore not needed to develop such data. Furthermore, issuance of
       a test rule requiring long term chronic testing will have a significant
       adverse environmental impact.

       178. Defendants knowingly and consistently understated or concealed the

serious environmental hazards of MTBE when communicating with EPA. By

such actions, defendants intended: (a) to forestall public scrutiny of their decision

to increase concentrations of MTBE in gasoline, and; (b) at the same time, to

avoid or obstruct health and environmental-safety research that would have

revealed what defendants already knew about MTBE's harmful effects on

groundwater.

       179. In April 1987, George Dominguez, a member of defendants' MTBE

Committee, gave a presentation at an oil industry event, the "Conference on

Alcohols and Octane." Mr. Dominguez represented during his presentation that




                                         88
"MTBE removal from groundwater is consistent with commercial experience.

MTBE gasoline spills have been effectively dealt with." These statements were

false and misleading in light of what the MTBE Committee members knew or had

reason to know about MTBE.

       180. Although defendants' MTBE Committee represented to the EPA that

the Committee was going to "address environmental issues related to MTBE by

(a) collecting data from member companies and other sources, and (b) sponsoring

programs to develop data unavailable from other sources," the Committee did no

such thing. The Committee disbanded approximately one year after achieving its

goal of limiting testing.

       181. In April 1987, ARCO, a major manufacturer of MTBE at the time,

published a bulletin describing the "proper" handling of MTBE during storage and

shipping, including material compatibility and safety information. The document

stated that "[g]asoline containing MTBE is handled in the same manner as

hydrocarbon-only gasoline. There are no extraordinary handling or safety

precautions." These statements were false and misleading when made, and ARCO

knew they were false.

       182. As widespread MTBE groundwater contamination began to appear,

defendants continued to conceal or obfuscate the true facts of the dangers that

MTBE posed to the environment.




                                       89
      183, In April 1996, the Oxygenated Fuels Association ("OFA"),

published and distributed a pamphlet entitled "Public Health Issues and Answers."

The pamphlet falsely stated: "On rare occasions, MTBE has been discovered in

private drinking-water wells where the source of MTBE has been attributed to

leaks from nearby underground storage tanks." OFA's pamphlet further expressed

confidence that federal regulations and industry practices made such

contamination largely a thing of the past. These statements were false and

misleading when made and OFA and its defendant members knew or had reason

to know they were false.

      184. Apart from misleading users, consumers, and the general public, the

OFA also presented deceptive information to the Maryland "Task Force on the

Environmental Effects of Methyl Tertiary Butyl Ether (MTBE)" ("MTBE Task

Force") about the risks and utility associated with MTBE and its continued

usage. The MTBE task force, was created by Maryland to inter alia: "(1)

Determine and assess the environmental and health risks associated with ground

and surface water contamination from MTBE; . . . (3) Recommend a plan to

minimize and counteract the environmental and health risks associated with

ground and surface water contamination from MTBE; and (4) Explore alternatives

to MTBE[.]"




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      185. In a presentation to the MTBE Task Force on November 30, 2000,

OFA misrepresented that "MTBE Does Not Pose A Health Risk" and that the

"Environmental Presence of MTBE Can be Managed[.]" Additionally, in a

follow-up letter sent on January 17, 2001 following a draft report by the MTBE

Task Force, OFA advised that "curtailing MTBE use is not an appropriate

response to groundwater protection concerns."

       186. Through these kinds of misleading communications, defendants

failed to properly, adequately and timely alert, inform and warn persons and

entities engaged in the storage, transport, handling, retail sale, use, and response to

spills of such gasoline and/or persons who own, operate, or are in charge of oil

storage facilities (as defined in Title 4, Subtitle 4 of the Environment Article)

(collectively, "Downstream Handlers"), intended users and consumers, regulators

and the general public to the environmental hazards and dangers posed by MTBE.

Defendants intentionally omitted and concealed information that would have

reduced the risks posed by MTBE had it been properly communicated to relevant

audiences.

       187. A September 15, 1999, report by a special EPA Blue Ribbon Panel

stated that MTBE is found in 21% of ambient groundwater tested in areas where

MTBE is used in RFG areas, that MTBE "has caused widespread and serious

contamination," and EPA's review of existing information on contamination of




                                          91
drinking-water resources by MTBE "indicates substantial evidence of a significant

risk to the nation's drinking water supply."

       188. In its September 15, 1999, report, the EPA Blue Ribbon Panel

recommended substantial reductions in the use of MTBE—some Panel members

recommended that it be eliminated entirely. The Panel also recommended

accelerating assessments of drinking-water-protection areas required under the

Safe Drinking Water Act, particularly in those areas where high MTBE-content

gasoline was used. The Panel further recommended "a nationwide assessment of

the incidence of contamination of private wells by components of gasoline" and

"regular water quality testing of private wells."

       189. In making MTBE their oxygenate of choice, defendants decided to

forego safer available oxygenates, such as ethanol. In fact, only after massive

MTBE environmental harm had already occurred did some gasoline sellers

publicly acknowledge that MTBE is neither environmentally safe nor necessary.

Getty Petroleum Marketing Inc., for example, placed full page advertisements in

the New York Times on October 13, 1999, that stated,

              Protecting our water supply means making a commitment to
       doing business in environmentally-friendly ways. That's what we're
       doing at Getty. We have replaced MTBE with ethanol in our
       gasoline because it helps clean the air without harming our drinking
       water.




                                          92
             DEFENDANTS BREACHED THEIR DUTIES TO
               PLAINTIFF AND THE GENERAL PUBLIC

      190. Defendants, who promoted the use of MTBE gasoline for its

purported environmental benefits, knew or reasonably should have known about

the grave harm and threat to Maryland's environment, and to its public's health,

safety, property, and welfare represented by the proliferating use of MTBE,

including, but not limited to: (a) widespread contamination of surface water and

groundwater with MTBE; (b) the rendering of groundwater unfit, unpalatable, and

unusable for consumption; and (c) the increased costs to the State and to others in

addressing MTBE contamination of waters of the State.

      191. Defendants knew or reasonably should have known that MTBE

gasoline would be stored in underground storage tanks with a propensity to leak

their contents into waters of the State. Defendants were aware or reasonably

should have been aware of the peculiar environmental risks involved in such use

of MTBE. Defendants had a non-delegable duty and breached their duty to inform

and warn all Downstream Handlers of MTBE gasoline of the peculiar risks and

necessary precautions associated with MTBE and MTBE gasoline.

       192. Defendants—as the manufacturers and suppliers of MTBE

gasoline—had a duty and breached their duty to the State to evaluate and test

MTBE and MTBE gasoline adequately and thoroughly to determine the

environmental, health, and welfare impacts and transport characteristics-


                                        93
including the potential harm to the public's health, comfort, safety, property, and

welfare—before they produced and sold MTBE gasoline.

         193. Defendants had a duty and breached their duty to minimize the

environmental harm caused by MTBE and MTBE gasoline.

         194. Defendants had a duty and breached their duty to take precautions,

including providing warnings and/or instructions necessary to ensure that MTBE

gasoline was properly and safely used, transported, stored, and dispensed, and that

all necessary measures to promptly detect, contain, abate, and respond to spills and

leaks were instituted.

         195. Defendants failed to adequately evaluate, test, store, warn, mitigate,

or otherwise ensure that MTBE gasoline would not contaminate waters of the

State.

         196. As a direct, indirect, and proximate result of defendants' failures and

breaches of duties, MTBE was released into the environment, causing widespread

contamination of the waters of the State.

         197. In addition to their negligent and/or reckless conduct alleged herein,

defendants intentionally failed to warn Downstream Handlers, intended users and

consumers, and regulators about the danger that defendants knew MTBE

presented to the environment and to the public's health, safety, property, and

welfare, and which dangers were not known and/or readily apparent to the general




                                            94
public. Defendants also engaged in separate and joint activities to mislead the

public regarding these same dangers.

        DEFENDANTS KNEW THAT MTBE RELEASES WOULD
                   OCCUR IN MARYLAND

      198. The widespread problems of gasoline releases from leaking MTBE

gasoline storage and delivery systems were well known to defendants prior to the

introduction of MTBE and MTBE gasoline into Maryland.

      199. At all times relevant hereto, defendants knew, or reasonably should

have known, that MTBE gasoline storage and delivery systems in Maryland and

elsewhere: (a) suffered significant and widespread leaks and/or failures; and (b)

released gasoline products into the environment, including into groundwater.

      200. Certain defendants obtained first-hand knowledge and experience of

these leaks and releases because they owned and operated individual gasoline

stations, including stations in Maryland, with leaking MTBE gasoline storage and

delivery systems and/or exercised control over such gasoline stations through a

variety of means, including written agreements, training, inspection rights,

prescribing certain procedures and operating practices, prescribing specifications

for products, prescribing conditions on sale of branded goods, and requiring

agreements obligating such stations to acquire, store, and sell MTBE gasoline.

       201. For most of the 20th century, the petroleum industry had an

indifferent attitude towards small-volume gasoline leaks and spills. The


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components of traditional gasoline are relatively insoluble and biodegrade fairly

readily. Because of these characteristics, they rarely caused significant health,

financial, and/or remediation problems to defendants and low-level gasoline

(without MTBE) releases were tolerated and accepted as part of normal business

practices. Delivery spills were thus common; maintenance activities frequently

involved spilling fuel; and basic inventory control, which defendants knew or had

reason to know could not detect small leaks, was generally considered to be

adequate for leak and release detection. Because the solubility of conventional

gasoline was quite low generally, relatively few traditional gasoline contaminants

made their way into the groundwater.

      202. The introduction of MTBE into gasoline changed things

dramatically and meant that small or minor leaks and spills could, and did,

significantly impact large volumes of groundwater. Even a small release of

MTBE gasoline could result in MTBE concentrations in groundwater that were

above taste and odor threshold levels, rendering the water unusable without

expensive treatment.

       203. Downstream Handlers and intended users and consumers had been

releasing gasoline into the environment for decades. These people continued to

routinely spill or release gasoline after MTBE was added to gasoline as an additive

because they did not know and were not told by defendants that they needed to do




                                        96
anything different than they did when handling non-MTBE gasoline. Protection of

groundwater, property, and human health, however, required that Downstream

Handlers and intended users and consumers receive instructions and information

alerting them that routine behavior was not suitable for handling MTBE gasoline

and that even very small releases of MTBE or MTBE gasoline could lead to

harmful consequences to the environment, to property, and to human health.

       204. Among other things, defendants knew, or reasonably should have

known, at the time they were utilizing and promoting MTBE as a gasoline

additive, that:

       a.         the MTBE gasoline distribution and retail system throughout

       Maryland included leaking storage and delivery systems;

       b.         large areas of Maryland were and are highly dependent upon

       groundwater for domestic water; and

       c.         the release of MTBE into the Maryland environment would be an

       expected consequence of marketing and placing MTBE gasoline into the

       stream of commerce in Maryland, particularly in the absence of

       precautionary measures necessary to prevent or mitigate such releases,

       which measures defendants failed to take.

        205. Defendants also knew, or reasonably should have known, that, to a

 greater extent than the other constituents of gasoline, MTBE, when released into




                                         97
the environment, would mix easily with water, would move great distances,

would resist biodegradation, would render drinking water unpalatable and non-

potable, and would require significant expenditures to define the extent of, to

monitor, to treat, and to remediate the contamination.

       206. Despite knowing the risk of groundwater contamination posed by

MTBE, and despite the availability of reasonable safe alternatives and

precautionary measures, including adequate warnings or instructions, defendants

failed to warn or instruct retailers, customers, other Downstream Handlers,

intended users and consumers, and the public on the dangers of and/or the proper

handling of MTBE and MTBE gasoline. Defendants further failed to take

appropriate precautionary measures to prevent or mitigate MTBE contamination.

Instead, defendants falsely promoted MTBE gasoline as environmentally sound

products suitable for widespread use that could be handled in the same manner as

gasoline without MTBE.

      207. To the extent defendants were also Downstream Handlers,

defendants continued to place MTBE gasoline into their underground storage tank

systems in Maryland knowing that:

      a.     gasoline distribution and retail systems throughout Maryland

      contained leaking storage and delivery systems;




                                        98
      b.     large areas of Maryland were and are highly dependent upon

      groundwater for domestic water; and

      c.     the release of MTBE into the environment in Maryland would be an

      expected consequence of marketing and placing MTBE gasoline into their

      leaking storage and delivery systems, especially in the absence of

      precautionary measures necessary to prevent or mitigate such releases,

      which measures defendants failed to take.

     208.    Among other things, defendants' false and inadequate

representations provided their MTBE gasoline with an unfair competitive

advantage, and with greater profit margins over other gasolines in the Maryland

marketplace utilizing available alternative safer, but more expensive, octane and

oxygenation additives.

     209.    Defendants also engaged in separate and/or joint activities to

suppress, conceal, downplay, and/or discredit studies and other information

regarding the hazards of MTBE. Defendants' wrongful conduct in this regard,

among other things, proximately caused:

      a.     a dramatic increase in the use and corresponding presence of MTBE

       gasoline in Maryland;

       b.    the consequent contamination and damage to the waters of the State

      as and when inevitable releases of MTBE gasoline occurred;




                                       99
      c.       substantial economic losses and damages incurred by the State in its

      efforts to define the extent of, to monitor, to treat, and to remediate MTBE

      contamination; and

      d,       negative impacts upon competitive, safer alternative oxygenate

      additives such as ethanol,

      210. Defendants knew at all material times that it was substantially

certain that their acts and omissions as set forth herein would threaten the

Maryland public's health, would cause extensive contamination of groundwater

and drinking-water supplies, and would otherwise cause the injuries described

herein.

          211. Defendants acted or failed to act knowingly, willfully and

deceptively, with gross negligence, maliciously, and/or wantonly with conscious

disregard of plaintiff's rights, the environment, and the public's health, property,

safety, and welfare.

          212. Defendants acted with actual malice and are liable for punitive

damages by ignoring their actual knowledge (or deliberately avoiding learning the

truth) as to the propensity of underground storage tanks to leak and as to the

defective nature of MTBE as a dangerous persistent environmental contaminant.

By ignoring their actual knowledge, and in fact working to conceal the defective

nature of their product, defendants showed a conscious and deliberate disregard of




                                         100
the foreseeable harm, including the damage to environment, the health

consequences, and the difficulty to remediate MTBE.

            THE IMPACT OF MTBE AND MTBE GASOLINE ON
                    THE WATERS OF THE STATE

         213. At all times relevant hereto, despite their knowledge that

contamination of waters of the State with MTBE was the inevitable result of their

conduct, defendants continued to refine, market, promote, and supply MTBE

gasoline in the State.

         214. Reformulated gasoline containing significant quantities of MTBE

was sold on a virtually universal basis throughout Maryland beginning in the

1990s as a result of defendants' efforts. According to the Federal Energy

Information Administration, the volume of MTBE contained in reformulated

gasoline sold in Maryland between 1995 and 2001 amounted to 1.2 billion gallons

of pure ("neat") MTBE.

         215. MTBE contamination is associated with all transportation, storage,

and use of MTBE gasoline.

         216. MTBE contamination has injured, and continues to injure and

threaten, the waters of the State, and the health, property, safety, and welfare of

the citizens of Maryland on a wide-spread and substantial basis throughout the

State.




                                       101
      217. Since its introduction into gasoline, MTBE has been found in

groundwater throughout Maryland.

      218. Maryland relies on groundwater for public drinking water supplies.

There are approximately 400,000 households that rely on private drinking-water

wells in the State, and nearly 3,250 public water systems that rely exclusively on

groundwater. MTBE has been found throughout the State in varying

concentrations and at varying times, both in public water supplies and in private

domestic wells.

      219. The State is entitled under law to clean groundwater uncontaminated

by MTBE.

       220. Defendants are responsible for MTBE gasoline that was released,

directly or indirectly, into the waters of the State from hundreds of release sites in

the State. A small sample of MTBE release sites for which defendants are

responsible include:

                                                                          MTBE
                                                                      Concentrations
  Defendant            Location         City             County
                                                                       found in Site
                                                                       Groundwater
                  1910 Rockville   Rockville, MD                        613,000 ppb
  BP Amoco                                          Montgomery
                       Pike           20852
                   920 East West   Takoma Park,                           2860 ppb
  BP Amoco                                          Montgomery
                       Hwy.         MD 20912
                  3507 Enterprise Michellville, MD Prince Georges         1700 ppb
     Apex                             20721
                        Rd.
                   16640 Crabbs    Rockville, MD                           138 ppb
     Apex                                           Montgomery
                    Branch Way        20855
  BP Amoco        4607 Lander Rd. Jefferson, MD       Frederick           1744 ppb


                                         102
                                                                          MTBE
                                                                      Concentrations
Defendant          Location           City              County
                                                                       found in Site
                                                                       Groundwater
                                        21755
                     12301       Gaithersburg, MD
 BP Amoco                                            Montgomery         2730 ppb
                Darnestown Rd.          20878
                     10550        Kensington, MD
  Chevron                                            Montgomery          4500 ppb
               Connecticut Ave.         20895
                    925 East        Silver Spring,
  Chevron                                            Montgomery         28,000 ppb
                University Blvd.     MD 20903
                  1020 Francis      Keymar, MD
   Citgo                                                Carroll         8,600 ppb
                Scott Key Hwy.          21757
                                   Frederick, MD
   Citgo       9824 Liberty Rd.                        Frederick        84,000 ppb
                                        21707
               3308 Bladensburg   Brentwood,    MD
   Citgo                                             Prince Georges     21,000 ppb
                      Rd.               20722
               9827 Hansonville Frederick, MD
   Exxon                                               Frederick         375 ppb
                       Rd.              21702
                                    Fallston, MD
   Exxon       2800 Fallston Rd.                        Hartford        30,700 ppb
                                        21047
                2010 St. Thomas Waldorf, MD
   Exxon                                                Charles          2900 ppb.
                       Dr.              20602
               4040 Powder Mill Beltsville, MD
   Exxon                                             Prince Georges      1,400 ppb
                       Rd.              20705
                      1204         Baltimore, MD
   Exxon                                               Baltimore          450 ppb
                Reisterstown Rd.        21208
                  20012 Fisher     Poolesville, MD
    Getty                                             Montgomery         3800 ppb
                      Ave.              20837
                                  Cockeysville, MD
    Hess         9715 York Rd.                         Baltimore        32,800 ppb
                                        21030
                                  Morningside, MD
  Holtzman     6500 Suitland Rd.                     Prince Georges      5940 ppb,
                                        20746
                  6715 Pulaski     Baltimore, MD
  Marathon                                           Baltimore City       500 ppb
                      Hwy.              21237
                2210 Conowingo Bel Air, MD
   Mobil                                                Harford          1,805 ppb
                       Rd.              21014
                161 Crescent Rd/
                                    Greenbelt, MD
   Mobil         159 Centerway                       Prince Georges      2800 ppb
                                        20770
                       Dr.
                                    Salisbury, MD
   NuStar       1134 Marine Rd                         Wicomico          4800 ppb
                                ' 21801
7-Eleven, Inc.   11922 Main St. Libertytown, MD         Frederick       197,980 ppb


                                       103
                                                                         MTBE
                                                                     Concentrations
 Defendant         Location            City            County
                                                                      found in Site
                                                                      Groundwater
                                       21762
                   226 East       Taneytown, MD
 Sheetz, Inc,                                          Carroll        490,000 ppb
                 Baltimore St.         21787
                                  Cumberland, MD
 Sheetz, Inc. 429 Virginia Ave.                       Allegany          196 ppb
                                       21502
                2284 Baltimore Finksburg, MD
    Shell                                              Carroll          520 ppb
                     Blvd.             21048
                5550 Greenbelt College Park, MD
    Shell                                           Prince Georges     30,000 ppb
                      Rd.              20740
                703 Washington      Laurel, MD
    Shell                                           Prince Georges     42,500 ppb
                     Blvd.             20707
                  5398 Queens     Hyattsville, MD
    Shell                                           Prince Georges     49,800 ppb
                   Chapel Rd.          20782
               1001 Beards Hill Aberdeen, MD
    Shell                                              Harford          4300 ppb
                      Rd.              21001
                13714 National Clear Spring, MD
   Sunoco                                            Washington         5153 ppb
                      Pike             21722
                 100 W. Cedar      Fruitland, MD
   Sunoco                                             Wicomico        430,000 ppb
                 Lane & Rt. 13         21826
   Sunoco/                         Baltimore, MD
               3410 Fairfield Rd.                   Baltimore City      4900 ppb
ConocoPhillips                         21226
                 6190 Waldorf- Mechanicsville,
   Texaco                                             St. Mary's        1000 ppb
               Leonardtown Rd.       MD 20659
                6180 Shady Side Shady Side, MD
   Texaco                                           Anne Arundel         37 ppb
                      Rd.              20764
               7035 Indian Head Bryans Road, MD
   Texaco                                              Charles          160 ppb
                     Hwy.              20616
                  14806 Crain     Brandywine, MD
   Texaco                                           Prince Georges      2800 ppb
                     Hwy.              20613
               21730 Great Mills Lexington Park,
   Texaco                                             St. Mary's       11,000 ppb
                      Rd.            MD 20653
                  17877 Piney     Piney Point, MD
    Valero                                            St. Mary's         350 ppb
                    Point Rd.           20690
                4029 North Point Dundalk, MD
  Wawa, Inc.                                          Baltimore         5400 ppb
                     Blvd.              21222

      221. As a direct and proximate result of defendants' acts and omissions as

alleged herein, the State has incurred and will incur significant costs and expenses

                                        104
to determine the extent of, to monitor, to treat, to remediate, and to otherwise

address, releases of MTBE into groundwater.

       222. As a result of defendants' acts and omissions as alleged herein, the

State is entitled to recover from the defendants all of the monies and the value of

the staff time expended by the State to date and into the future to define the extent

of, to monitor, to treat, and to cleanup MTBE-contaminated groundwater.

       223. The State is entitled to recover from defendants the future costs to

define the extent of, to monitor, to treat and to restore MTBE-contaminated

groundwater.

       224. In its parens patriae as well as its public trustee capacities, the State

also is entitled to full compensation and other remedies for all harm that

defendants' MTBE-related acts and omissions have caused to the State's parens

patriae and public trust interests.

  DEFENDANTS' DECEPTIVE PROMOTION OF MTBE GASOLINE AS
    CLEANER OR ENVIRONMENTALLY FRIENDLY GASOLINE

       225. Commencing in or about 1987 and continuing to 1995, federal and

state governments—including the State of Maryland—promulgated and enacted

laws and regulations addressing automotive emissions. These included State

Implementation Plans prepared in response to the 1990 amendments to the CAA.

These efforts involved, inter alia, provisions promoting development and use of

alternative fuels to gasoline, such as ethanol. Defendants during this time were


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aware of the potential negative impact that these government-sponsored

alternative-fuel initiatives would have on their revenues and profits from the

manufacture, distribution, and/or sale of MTBE gasoline.

      226. Defendants' response to the promotion of alternative fuels to

gasoline were twofold: (a) they recast the marketing image and public perception

of MTBE gasoline as clean-burning and environmentally friendly gasoline; and (b)

they disparaged ethanol-oxygenated gasoline (as well as other alternative fuels

under consideration), claiming that it was more costly and less effective than

MTBE gasoline. In their responses to government initiatives, defendants failed to

disclose the significant environmental dangers that MTBE and MTBE gasoline

posed to the public and private water supplies in the event of a spill or leak of

MTBE gasoline, the frequent occurrence of which defendants, and their trade

groups as set out above, were well aware.

       227. In or about September 1989, ARCO began selling a claimed low-

emissions unleaded regular gasoline product containing MTBE named "EC-1,"

("EC" standing for "Emission Control"). ARCO was followed closely by Conoco,

Valero, Exxon, Marathon, Phillips, Shell and Sunoco, who likewise began offering

gasoline formulations with higher percentages of MTBE as an ingredient and

marketing them as cleaner-burning gasoline under various brand names.




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      228. In or about April 1990, Shell began marketing and promoting its

own so-called cleaner gasoline named "SU2000E." Like ARCO's EC-1 product,

this Shell gasoline was formulated with higher percentages of MTBE. One of the

markets targeted by Shell in SU200E's widely publicized launch was Baltimore.

The launch's public-relations campaign generated press articles published April

12, 1990, in the New York Times and in the Chicago Tribune, and on April 23,

1990, in the Oil & Gas Journal. The New York Times quotes Shell's president,

Frank H. Richardson, describing Shell's new SU2000E gasoline blend as "an

important step in the right direction for cleaner air." The Oil & Gas Journal article

further quotes him as saying, "This new gasoline reflects Shell's commitment to

make environmental considerations a priority in development of our new products

and processes."

       229. As of at least 1981, Shell was aware of the hazards of MTBE

gasoline, including having been advised by one of its hydrogeologists, Curt

Stanley, that the MTBE in its gasoline could contaminate and create taste and odor

problems in public drinking-water supplies.

       230. Shell's public statements concerning its SU2000E MTBE gasoline

omitted these and other material facts of which Shell was aware concerning the

risks and hazards of MTBE gasoline to water supplies; these omitted facts were




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essential and necessary to present a fair and accurate description and assessment of

MTBE gasoline's environmental characteristics.

       231. Shell's misleading and deceptive claims to the public about MTBE

and its purported cleaner gasoline materially harmed the citizens of Maryland.

Shell's claims: (a) interfered with legitimate trade and commerce by Shell's

competitors, including those in the ethanol and alternative-fuels industries, thereby

adversely affecting directly or indirectly the citizens of this State; and (b) caused

and facilitated the widespread introduction, acceptance, distribution, and sale of

MTBE gasoline throughout the State and thereby misled, misinformed, and

deceived Downstream Handlers and customers, including distributors, retailers,

and the motoring public throughout the State, resulting in the leaking and spilling

of MTBE gasoline causing widespread injury to the waters of the State from

MTBE contamination.

       232. At the same time that ARCO, Conoco, Phillips, Exxon, Marathon,

Shell and Sunoco (or their predecessors or successors) were offering MTBE

gasoline to the public as a cleaner gasoline, these defendants, through API, were

financing a public relations campaign to discredit ethanol oxygenated gasoline.




                                         108
  THE DEFENDANTS' FAILURE TO DISCLOSE MTBE GASOLINE'S
        ENVIRONMENTAL SAFETY HAZARDS IN THEIR
             MATERIAL SAFETY DATA SHEETS

      233. Manufacturers of hazardous substances address Occupational Safety

and Health Administration hazard-communication requirements by providing

material safety data sheets ("MSDSs") to their customers. Defendants in this case

falsely or inadequately addressed MTBE in their MSDSs. The public position of

defendants and in their MSDSs was that MTBE gasoline could be handled just like

traditional gasoline, and that the traditional standard-of-care for gasoline without

MTBE was adequate for MTBE gasoline.

       234, Defendants prepared and distributed MSDSs in connection with their

marketing, distribution, and sale of their products. Defendants asked customers

who resold or distributed MTBE and MTBE gasoline to furnish copies of the

MSDSs to their respective Downstream Handlers and customers.

       235. In preparing and distributing MSDSs, defendants omitted material

facts about what they knew or should have known concerning the risks and

hazards of MTBE and MTBE gasoline.

       236. Defendants' intended purpose and use of MSDSs during this time is

explained in an October 4, 1994, Mobil (now ExxonMobil) publication titled:

"Material Safety Data Bulletin: An Explanation of Terms," which bears copyright

dates of 1987, 1990 and 1994:




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             A Mobil Material Safety Data Bulletin (MSDB), commonly
      referred to as a Material Safety Data Sheet (MSDS), is a compilation
      of health-related information, procedures for emergency situations,
      physical properties, and recommendations to help assure the safe
      handling of a particular Mobil product.

      237. An MSDS is typically divided into sections that address specific

safety, handling, and hazards issues. Two important sections commonly found in

MSDSs during the relevant times herein are "Accidental Releases" and "Handling

and Storage."

      238. Defendants at all times relevant hereto knew the nature and

magnitude of environmental risks and hazards when MTBE is added to a gasoline

product are different and greater than those associated with conventional gasoline.

The deleterious nature and magnitude of MTBE's risks and hazards require that

those who are handling and storing MTBE gasoline exercise greater and more

costly safety, storage, handling and remedial-response precautions and measures

compared to conventional gasoline.

       239. The material differences between MTBE gasoline and conventional

gasoline are described in a July 1, 1992, Amoco Oil Company (now BP) internal

document—not disclosed or circulated to its distributors, gas stations, or

customers—entitled: "Guideline for Handling & Storage of Ethers Used in

Gasoline" ("Amoco Guideline"):

              Amoco oil plans to meet the new {CAA Amendments]
       requirements by marketing gasolines blended with ethers starting in
       1992, Most Amoco oil facilities will be required to handle and store

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      the new oxygenated gasolines containing up to 20 percent ether by
      volume. Amoco refineries, certain bulk terminals and the associated
      shipping and receiving facilities will also handle ethers in the "neat"
      form (100 percent concentration).

             The chemical and physical properties of ethers differ from
      those of non-oxygenated gasolines, potentially causing new
      problems for Amoco facilities. Most significantly, ethers are much
      more water soluble than hydrocarbons and will have a tendency to
      dissolve in—ground water if allowed to leak or spill. Ethers are not
      readily biodegradable, making cleanup of spills and separation from
      wastewater much more difficult than for non-oxygenated gasoline.
      In addition, ethers are incompatible with some elastomer seals,
      linings, and equipment commonly used in Amoco storage and
      distribution facilities, increasing the likelihood of leaks if these
      materials are not modified for ether use.

             If allowed to occur, the contamination of groundwater and
      surface water with ethers will have a tremendous cost, both to
      Amoco's reputation as an environmentally responsible company, and
      as a major financial cost for cleanup. Cleanup costs for ethers are
      tremendously higher than for non-oxygenated gasolines. To avoid
      these costs, facilities handling ethers and ether/gasoline blends must
      be designed and operated to insure: (1) a low likelihood for spills
      and leaks, (2) early detection of leaks when they occur, and (3) rapid
      repair and cleanup when leaks are found.

(Emphasis in original).

      240. Shell knew by 1998 (at the latest) that MTBE gasoline should not be

used in areas where groundwater was a potential drinking-water source or supply,

or, if MTBE gasoline was used in such areas, that special handling, storage, and

monitoring was required to avoid groundwater contamination.




                                        111
    241. Specifically, Shell was informed by its hydrologist, Curt Stanley, in

an email sent on November 3, 1998, with respect to "MTBE IN

GROUNDWATER—ISSUES BRIEF" that:

    (1)    Very small releases of MTBE (even small overfills seeping into
           cracks in the pavement) have the potential to adversely impact
           groundwater.

    (2)    Based on engineering reliability studies, it is likely that a high
           percentage of sites using MTBE, have a soil and/or groundwater
           problem. This problem is not just the result of leaking tanks, lines,
           fills and dispensers, but is also a result of certain operations.

     (3)   Due to MTBE's high solubility and low attenuation rates, it has the
           potential to migrate large distances relative to benzene. . . .

    (4)    Those sites which are located over potable groundwater are
           potentially very high risk sites.

     (5)   Odor and taste will drive the cleanup goals rather than risk. We are
           currently looking at clean up goals between 5-15ppb,

     (6)   Once in groundwater, MTBE is extremely difficult to remediate. It's
           [sic] Henry's Law coefficient is very low which means that MTBE
           prefers to stay in the aqueous phase rather than being sorbed or
           stripped out of water. Air sparging will be relatively
           ineffective. We are currently evaluating biological and oxidation
           remediation techniques.

     (7)   A simple risk assessment for all sites (like we are in the process of
           developing) will greatly help focus future resources.

     242. In the same email on November 3, 1998, Mr. Stanley stated:

            My professional opinion is that MTBE and similar
     oxygenates should not be used at all in areas where groundwater is a
     potential drinking water supply. If it is used, engineering design and



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      site operations (including active subsurface monitoring) should be
      carefully developed to minimize the potential for a release.
      243. Defendants did not disclose in their MSDSs MTBE gasoline's

greater, longer-lived, and more costly risks and hazards, or the additional measures

they themselves internally recommended for minimizing those risks, such as were

referenced in the Amoco Guideline or otherwise known to Shell and other

defendants.

      244. The MSDSs published by the defendants wrongly and deceptively

stated or implied that MTBE gasoline could be handled just like traditional

conventional gasoline, and that the traditional standard of care for gasoline without

MTBE was adequate for MTBE gasoline.

       245. Amoco and its successor BP Amoco, for example, published MSDSs

for MTBE gasoline on or about April 28, 1993, January 19, 1995, January 5, 1998,

December 28, 1998, and July 16, 1999. Each of these MSDSs identically stated

under the sections for "Accidental Release Measures" and "Handling and

Storage"—with no distinction between gasoline with and without MTBE—the

following warnings and precautions:

       6.0 ACCIDENTAL RELEASE MEASURES

       Remove or shut off all sources of ignition. Wear respirator and
       spray with water to disperse vapors. Increase ventilation if possible.
       Remove mechanically or contain on an absorbent material such as
       dry sand or earth. Keep out of sewers and waterways.

       7.0 HANDLING AND STORAGE


                                         113
      HANDLING: Use with adequate ventilation. Ground and bond
      containers when transferring materials. Wash thoroughly after
      handling.

      STORAGE: Store in flammable liquids storage area. Keep container
      closed. Store away from heat, ignition sources, and open flame in
      accordance with applicable regulations —

      SPECIAL PRECAUTIONS: Keep out of sewers and waterways.
      Avoid strong oxidizers. Report spills to appropriate authorities.
      USE AS MOTOR FUEL ONLY."

      246. The foregoing statements are materially different from what

Amoco's management was internally advising its operations personnel in the

Amoco Guideline as to the need for heightened (and more costly) precautions and

measures regarding handling, storage and cleanups of MTBE gasoline in view of

MTBE's greater risks to groundwater and surface water, and in view of the larger

costs associated With addressing MTBE contamination of water and the

environment. Amoco's (and BP's) MSDSs contained no warning or information

regarding these foreseeable enhanced risks and costs. Nor did Amoco's MSDSs

inform its distributors, gas stations, or customers that in order to avoid materially

increased environmental harm and associated cleanup and remediation costs, all

facilities handling MTBE gasoline must be designed and operated to insure: (a) a

low likelihood for spills and leaks; (b) early detection of leaks when they occur,

including the need to test and monitor for MTBE; and (c) rapid repair and cleanup

when leaks are found. Rather MTBE gasoline was wrongfully and deceptively




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equated by defendants with conventional gasoline with regard to handling, storage,

and cleanup.

      247. Shell's MTBE-gasoline MSDSs also omitted material information

known to Shell—but not known to Downstream Handlers, to customers of the

products, or to the public generally—on the greater magnitude of environmental

risks and hazards associated with MTBE gasoline and the correspondingly

heightened precautions and responses required to prevent or respond to a release

of MTBE gasoline.

      248. Shell's MTBE gasoline MSDS statements are materially different

from Shell's statements and precautions contained in its August 4, 2005, MSDS

for its Ethanol Light Ends Coproduct Mixture-PDO-Geismar product.

      249. Each of the following defendants listed in the table below (who

together with Amoco and Shell are collectively referred to herein as "MTBE

MSDS Defendants"), acting with knowledge regarding MTBE's enhanced

environmental risks and hazards to groundwater and surface water, issued MSDSs

on the dates indicated that omitted material information on the nature and

magnitude of environmental hazards associated with their MTBE gasoline and the

heightened necessary precautions and responses required to prevent or adequately

respond to a release over those associated with conventional gasoline:




                                       115
   Defendant                          Dates MSDS issued or revised
                   10/16/1994 (Exxon Company); 10/17/1994 (Exxon Company);
      Exxon        07/14/1997 (Exxon Company); 08/10/1999 (Exxon Company);
                   05/12/2000; 03/01/2002; 03/29/2006
                   04/28/1993; 06/08/1994; 01/19/1995; 05/03/1995; 05/03/1995;
   B P Amoco
                   01/05/1998; 12/28/1998 (BP Amoco); 07/16/1999; 07/16/1999
                   02/10/1986; 03/24/1990; 03/26/1990; 03/07/1991; 02/03/1993;
     Chevron       03/12/1993; 03/19/1993; 06/10/1994; 01/24/1995; 11/15/1995;
                   04/16/1998; 07/31/1999; 01/09/2001; 11/28/2001
                   07/10/1987; 10/24/1988; 02/10/1989; 06/13/1989; 04/30/1990;
                   10/01/1990; 03/27/1991; 06/30/1992; 09/09/1992; 12/18/1992;
      C itgo
                   03/23/1993; 03/24/1993; 10/21/1994; 11/09/1994; 11/10/1994;
                   01/30/1995; 10/06/1995; 12/31/1996; 08/15/1997; 03/15/2001
                   11/02/1989; 03/28/1990; 04/30/1990; 02/26/1992; 03/05/1992;
                    08/04/1994; 11/15/1995; 03/28/1996; 04/03/1998; 04/04/1998;
     El Paso
                    05/19/1998; 03/05/1999; 03/11/1999; 06/22/2000; 10/17/2002 (El
                    Paso Corp.)
                    12/01/1994 (Bayway Refining); 07/12/1995 (Tosco); 09/29/1995
                   (Phillips 66); 11/24/1995 (Conoco); 05/13/1996 (Tosco); 10/02/1996
 ConocoPhillips (Tosco); 10/13/1997 (Tosco); 03/29/1999 (Tosco); 01/01/2002
                   (Phillips Petroleum); 05/07/2002 (Conoco); 01/01/2003; 02/13/2003
                    (Phillips 66)
                    10/15/1986 (Gulf); 05/25/1989 (Gulf); 03/01/1995 (Gulf);
   Cumeran
        b l d
                    04/26/1995 (GULP); 04/10/1996 (Gulf); 02/25/2004 (GULP);
  F arms/GOLP
                    02/26/2004 (GULP)
Equilon Enterprises 01/04/1999; 04/26/1999; 01/10/2000; 01/13/2000; 09/28/2000;
       LLC          10/13/2000; 03/23/2001; 07/19/2001
                    08/31/1989; 12/22/1994; 9/16/1996; 12/30/1997; 09/24/1999;
       Hess
                    01/08/2004
    Marathon        12/29/1992; 05/22/1995; 09/30/1998; 09/12/2005
                    01/04/1999; 06/10/1999; 01/10/2000; 01/13/2000; 03/23/2001;
      Motiva
                    03/13/2003
     Premcor        05/12/1999; 11/19/2000; 12/21/2000; 08/1/2005




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   Defendant                       Dates MSDS issued or revised
                  09/18/1986; 09/02/1987 (from Champlin); 02/18/1988; 10/26/1988;
                  11/03/1988; 02/02/1989; 04/11/1990; 03/04/1992; 04/19/1992;
                  10/28/1992; 10/29/1992; 11/10/1992; 03/17/1993; 03/27/1993;
                  04/16/1993; 04/30/1993; 06/30/1994; 08/19/1994; 10/7/1994;
                  05/04/1995; 09/13/1995; 09/27/1995; 09/29/1995; 01/05/1996 (from
Shell Oil Company ARCO); 01/25/1996; 02/29/1996; 06/06/1996; 08/06/1996;
                  08/13/1996; 09/18/1996; 08/19/1997; 03/31/1998; 04/06/1998;
                  04/23/1998; 09/23/1998; 01/4/1999; 04/26/1999; 01/10/2000;
                  01/13/2000; 06/28/2000; 10/13/2000; 03/23/2001; 07/10/2001;
                  10/24/2001; 08/07/2002; 03/14/2003; 06/06/2003; 09/03/2003;
                  09/06/2006
Sun Company, Inc. 3/20/1998                                               ,
                  02/28/2000; 02/29/2000; 03/04/2002; 04/05/2002; 04/11/2002;
                  05/02/2002; 08/20/2002; 08/21/2002; 08/26/2002; 09/06/2002;
                  01/17/2003; 05/02/2003; 09/18/2003; 10/06/2003; 11/03/2003;
   Sunoco, Inc.   12/24/2003; 04/30/2004; 08/09/2004; 08/20/2004; 08/27/2004;
      (R&M)       08/30/2004; 09/01/2004; 09/02/2004; 09/03/2004; 09/09/2004;
                  12/10/2004; 03/07/2005; 04/08/2005; 04/11/2005; 04/12/2005;
                  04/13/2005; 04/19/2005; 07/29/2005; 08/01/2005; 08/02/2005;
                  12/19/2005
                  05/02/1991; 08/11/1993; 05/12/1994; 01/04/1995; 07/17/1996;
      T exaco
                  05/19/1997; 11/12/1997; 01/06/1998; 01/04/2000
                  01/15/1998; 12/17/1998 (Diamond Shamrock Refining); 01/01/1999
  Valero Energy (Diamond Shamrock Refining); 06/16/2000; 06/19/2000; 01/01/2001
   Corporation    (Diamond Shamrock Refining); 01/17/2001
 Valero Refining 01/15/1992; 08/19/1998
  and Marketing
     Company

      250. The MTBE MSDS Defendants' deceptive and misleading

descriptions and misrepresentations gave their MTBE-gasoline products an unfair

competitive advantage and greater profit margins over other viable gasolines in the

marketplace. Defendants also thereby gave MTBE gasoline an unfair competitive

advantage over ethanol and other alternative fuels.




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       251. The material facts omitted by the MTBE MSDS Defendants in their

respective MSDSs concerning MTBE gasoline's peculiar and heightened risks and

hazards to the environment were essential and necessary for a fair and not

misleading description and assessment of MTBE gasoline's environmental

characteristics.

       252. The MTBE MSDS Defendants' misleading and deceptive statements

in their MSDSs for MTBE gasoline omitted material storage, handling, and

environmental information concerning MTBE which was known to them at the

time that their respective MSDSs were issued and disseminated which, among

other things, was relevant to and affected the determination of MTBE's true

economic costs.

       253. The misleading and deceptive claims to the public about MTBE

gasoline in the above MSDSs harmed the citizens of Maryland in that they: (a)

interfered with legitimate trade and commerce by the defendants' competitors,

including those in the ethanol and alternative-fuels industries, negatively affecting

directly or indirectly the people of the State; and (b) caused and facilitated the

widespread introduction, acceptance, distribution, and sale of MTBE gasoline, and

misled, misinformed, and deceived Downstream Handlers and customers,

including distributors, retailers, and the motoring public throughout the State, all

of which resulted in or contributed to the widespread damage to the waters of the




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State from MTBE contamination, and which damaged the trust resources and

property of the State as well as the health, property, safety, and welfare of a

substantial segment of the State's citizens.

            MTBE POSES A SUBSTANTIAL HEALTH RISK TO
                   THE CITIZENS OF MARYLAND

       254. Because of MTBE's potential for causing cancer, it is currently

classified by the EPA as a "possible carcinogen" and an EPA draft risk assessment

has recommended reclassifying MTBE as a "probable carcinogen." The State of

California has classified MTBE as a probable carcinogen. Two recently released

chronic study reports of MTBE in rats sponsored by the petroleum industry found

carcinogenic impacts associated with exposure to MTBE.

       255. The State established a state action level for MTBE of 20 ppb for

groundwater. The Maryland Department of the Environment opens a case for

investigation when it receives reports of MTBE contamination at 10 ppb or higher.

These levels were set prior to the State's receipt of new data regarding the

probable carcinogenicity of MTBE and the International Agency for Research on

Cancer's decision to treat MTBE as a high priority agent for further evaluation.

   THE LUKOIL DEFENDANTS ARE DIRECTLY AND VICARIOUSLY
       LIABLE FOR GPMI'S ENVIRONMENTAL LIABILITIES

       256. Defendants 0A0 Lukoil, LNA, LAC and GPMI directly, indirectly,

and through agents and/or officers, transacted business in the State of Maryland.




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      257. From 1998 forward, OA° Lukoil registered several trademarks for

"Lukoil" with the U.S. Patent and Trademark Office. °AO Lukoil used those

trademarks to conduct business related to the sale of motor fuel in Maryland and

elsewhere through subsidiaries that held themselves out as Lukoil, including

GPMI, LAC, and LNA.

      258. In October 2000, OA° Lukoil created LAC.

      259. In November 2000, OA° Lukoil moved into the United States

gasoline market by acquiring GPMI, heralding the acquisition as the first by a

Russian company of a publicly held U.S. company. The Agreement and Plan of

Merger to acquire was between GPMI and °AO Lukoil and 0A0 Lukoil

subsidiaries Lukoil International GmbH, Lukoil Americas Corporation and

Mikecon Corporation. The Agreement and Plan of Merger designated Lukoil

Americas Corporation to receive all notices and communications on behalf of "any

Lukoil entity."

       260. After LAC acquired GPMI in 2001, GPMI became a wholly owned

subsidiary of LAC and an indirect wholly owned subsidiary of OA° Lukoil.

0A0 Lukoil and LAC took GPMI private and no longer filed reports with the U.S.

Securities and Exchange Commission. GPMI was incorporated in Maryland and

registered and authorized to do business in Maryland.




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      261. As part of the acquisition and merger transaction, GPMI, at the

direction of LAC and OA° Lukoil, entered into an Amended Master Lease for

service stations in Maryland and elsewhere and an environmental indemnity

agreement with Getty Property Corporation for the lease of hundreds of service

stations and a petroleum storage and distribution network in the United States,

including in Maryland. In these transactions GPMI acted as agent for, and at the

direction of, GAO Lukoil and LAC.

      262. At the time GPMI and Getty Property Corporation executed the

Amended Master Lease, °AO Lukoil guaranteed GPMI's financial obligations

under the Amended Master Lease for three years. The "Guaranty of Lease"

executed by GAO Lukoil provides that the "Guarantor [OAO Lukoil] will derive

substantial direct and indirect benefits from Tenant's [GPMI'sj entering into the

[Amended Master] Lease." GAO Lukoil affirmatively promised that it

"absolutely, unconditionally, irrevocably, jointly and severally guarantees, as

principal and not as indemnitor to Landlord [Getty Property Corporation], in

accordance with and pursuant to this Guaranty, Tenant's full and punctual

payment of all Guaranteed Obligations . . . Guarantor's liability under this

Guaranty shall be primary and not secondary and Landlord may, at Landlord's

option . . . join Guarantor in any action or Proceeding commenced by Landlord

against Tenant in connection with the Guarantied [sic.] Obligations."




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       263. OAO Lukoil put the Lukoil trademarks on service stations in

Maryland, on GPMI letterhead, on credit cards offered to and used by Maryland

customers of Lukoil service stations, and in public sponsorships.

       264. At all relevant times, GPMI, LAC, OAO Lukoil and LNA held

themselves out as "Lukoil" in signage, advertising, contracts, sponsorships, and

other business activities.

       265. LAC owned 100% of the stock of GPMI from January 25, 2001 until

February 28, 2011, with the exception of two weeks in November 2009, when

GAO Lukoil, LAC and LNA coordinated a stripping of the only profitable assets

of GPMI to evade GPMI's obligations to creditors, including the State of

Maryland. At all relevant times, GPMI, LAC and LNA acted as agents for OAO

Lukoil with respect to operation of GPMI leased service stations in Maryland.

       266. In 2004, with the approval and at the direction of GAO Lukoil and

LAC, GPMI obtained a loan and line of credit for $360 million. The purpose of

the loan and line of credit was to finance the acquisition of service stations from

ConocoPhilips and to provide working capital associated with the acquisition. The

Executive Summary of the transaction documents stated, "Lukoil [OAO Lukoil]

has acquired downstream assets in Europe and the U.S. (including the $73 million

acquisition of Getty [Property Corporation] announced in November 2000). This

Acquisition [to buy the ConocoPhillips stations with the loan proceeds] is the next




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step in Lukoil's strategy to aggressively expand its U.S. Downstream operations."

The loan documents referred to GPMI as "the foundation of Lukoil's [OAO

Lukoil's] U.S. downstream operations—a presence that Lukoil anticipates will

expand dramatically in the next few years." The loan and line of credit also

stated, "The Acquisition represents more than a financial investment for Lukoil, it

is the foundation of a strategy to dramatically expand Lukoil's presence in the

U.S."

        267.   The 2004 loan and line of credit were guaranteed by LAC. Vincent

De Laurentis, president of both LAC and GPMI, signed for the loan and line of

credit on behalf of GPMI, and signed the guarantee on behalf of LAC. 0A0

Lukoil made a $50 million capital contribution to LAC to fund the acquisition and

another $10 million as a "structural measure to provide near term financing

liquidity."

        268. In May 2004, OAO Lukoil, through GPMI, used funds from the loan

and line of credit to acquire 767 Mobil-branded stations from ConocoPhillips for

$269.5 million. The title of the purchase agreement is "OAO Lukoil Getty

Petroleum Marketing Inc. Purchase of Marketing Assets from Conoco Phillips

Company and Related Financings." OAO Lukoil and LAC directed and

participated in the acquisition of service stations from ConocoPhillips. OAO

Lukoil and LAC guaranteed loans for the purpose of purchasing stations and




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property, expanding their market share, and bringing the Lukoil name to Maryland

and rebranding Maryland service stations as Lukoil stations.

      269. In 2005, GPMI obtained a loan and line of credit for $475 million to

replace the 2004 loan and to finance additional expansion efforts and to rebrand

the acquired stations to Lukoil stations. The 2005 loan and line of credit were

guaranteed by OAO Lukoil. The loan documents stated, "Expanding into the U.S.

has also been a strategic objective of Lukoil . . . . Sales of Lukoil petroleum

products in the U.S. reached a record level of 1.9 billion gallons (8.64 billion

liters). Revenue from sales (without excise) was $2.6 billion and net profit was

$11.7 million." Distributions for that loan and line of credit went directly to LAC,

not GPMI.

       270. The 2005 "Guaranty" signed and agreed to by ()AO Lukoil stated

that 0A0 Lukoil's "obligations hereunder are primary, not secondary . . . the

obligations of the Guarantor. . . are independent of the Obligations, and a separate

action or actions may be brought and prosecuted against the Guarantor to enforce

such obligations, irrespective of whether any action is brought against the

Borrower or any other Person . . . ." The Guaranty also included "Affirmative

Covenants" which described not only OAO Lukoil's financial obligations, but also

significant commitments to the operation of its subsidiaries, including

commitments that 0A0 Lukoil would cause each subsidiary to "do, or cause to be




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done all things necessary to (a) preserve, renew and keep in full force and effect its

legal existence and (b) the rights, licenses, permits, privileges and franchises

material to the conduct of its business . . . ." 0A0 Lukoil also committed to cause

each subsidiary to "keep and maintain all property material to the conduct of its

business in good working order and condition . . . ."

       271. As part of its effort to increase the Lukoil brand awareness and

increase its profits, OAO Lukoil directly funded a rebranding effort with a $10

million per year marketing and advertising campaign directed at customers.

       272. 0A0 Lukoil regularly transferred millions of dollars through its

intermediate subsidiaries to LAC, who then funneled those dollars to GPMI. For

example, in 2005 and 2006, LAC received $2.5 million dollars quarterly from one

or more of the °AO Lukoil subsidiaries, including Lukoil Americas LLC (which

merged with LAC in 2006), and Lukoil Europe Holdings B.V. LAC would then

immediately transfer that money to GPMI.

       273. By 2005, GPMI was losing vast sums of money because the GPMI

legacy stations bound by the Amended Master Lease were losing money and

GPMI could not pay the rent owed to Getty Realty Corporation. At a number of

these stations GPMI was exposed to environmental liability, including liability to

the State for MTBE contamination. By 2006, GPMI was operating at a loss and it

would never again be solvent.




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      274. In 2007, the C.E.O. of LAC, GPMI and LNA, Vadim Gluzman, on

behalf of and as agent for OAO Lukoil, told the owner of Getty Realty

Corporation that if Getty Property Corporation did not renegotiate the Amended

Master Lease, GPMI would sell off assets to a sister company, hold GPMI for one-

year and then sell GPMI to anyone who would take it.

      275. In 2007, OAO Lukoil directed LAC to create LNA for the purpose

of obtaining GPMI' s only profitable assets (the ConocoPhillips stations not bound

by the Amended Master Lease) in a future transaction that would keep those

ConocoPhillips stations within the Lukoil family and drive the remainder of GPMI

into bankruptcy.

      276. LAC created LNA in June 2007 as directed by 0A0 Lukoil and has

always owned 100% of LNA's stock.

      277. Environmental and property risks associated with the gasoline

stations in the United States were assessed and considered by OAO Lukoil,

including risks associated with stations in Maryland, when GAO Lukoil directed

the restructuring of LAC and its subsidiaries and the fraudulent transfer of assets

from GPMI to LNA. By 2008, GPMI's total liabilities exceeded its total assets

resulting in an accumulated deficit of $248 million, GPMI was dependent on

money from ()AO Lukoil to survive.




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       278. In 2009, OA° Lukoil directed LAC, LNA and GPMI to transfer

GPMI' s only profitable assets to the newly created LNA.

       279. In November 2009, LAC and LNA, acting at the direction of °AO

Lukoil, undertook a three-step process to effectuate that transfer.

       280. On November 13, 2009, LAC transferred 100% of its GPMI stock to

LNA. Upon information and belief, LNA did not give adequate consideration for

the transfer of GPMI stock from LAC. The transfer of GPMI stock to LNA had

no legitimate business purpose for GPMI.

       281. On November 16, 2009, while under LNA ownership, GPMI

transferred stations to LNA. 0A0 Lukoil, LAC and LNA are successors in

liability for the MTBE contamination at these stations. This transfer was

fraudulent and to the detriment of GPMI.

       282. The GPMI and LNA documents affecting the transfer of the

ConocoPhillips stations from GPMI to LNA were all signed by the same person,

the president of both GPMI and LNA, Vincent De Laurentis, on behalf of GPMI

and LNA.

       283. The price LNA paid for GPMI's profitable assets was a fraction of

the fair market value of those assets and was inadequate for GPMI's creditors.

       284. On November 27, 2009, two weeks after LAC transferred GPMI's

stock to LNA, LNA transferred all of its GPMI stock back to LAC as a dividend.




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By this time, however, GPMI no longer owned the profitable former

ConocoPhillips stations, which LNA kept. The result was a GPMI that was

hemorrhaging cash and had rent obligations to Getty Property Corporation that it

could not afford (and that were no longer subject to OAO Lukoil's 2000 Guaranty

of Lease). LNA continued, without interruption, the operations of the former

stations, including management, personnel, physical locations, and sale of motor

fuel.

        285. OAO Lukoil, LAC and LNA controlled the transfer of the

ConocoPhillips stations from GPMI to LNA, and ignored the corporate formalities

that would ordinarily accompany such a transfer. There was no legitimate

business reason for GPMI to transfer these stations to LNA. In transferring the

stations, GPMI acted as an agent of 0A0 Lukoil, LAC and LNA, and not in the

interests of GPMI.

        286. GAO Lukoil and LAC directed gasoline blending operations in

which GPMI, acting as an agent for 0A0 Lukoil and LAC, blended MTBE

gasoline for sale in Maryland and elsewhere.

        287. In 2011, OAO Lukoil directed LAC to sell GPMI to Cambridge

Holdings Petroleum for one dollar. At that time, OAO Lukoil also agreed to

provide millions of dollars as a cash infusion to Cambridge in order to keep GPMI

temporarily afloat.




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      288. No officer of GPMI knew of or participated in the sale of GPMI to

Cambridge. Upon the sale, OAO Lukoil ordered all GPM' officers to resign their

positions with GPMI.

      289. GPIvII owned gasoline underground storage tanks in Maryland at the

time of the sale to Cambridge.

      290. OAO Lukoil, LAC, and LNA filed claims in the bankruptcy

proceeding of GPMI for indemnity by GPMI for "damages relating to purchase

and sale agreement" (e.g., the November, 2009 sale of assets from GPMI to LNA).

In re GPMI Bankruptcy, No. 11-15606-SCC (S.D.N.Y.). LNA also filed claims

relating to stations covered by the Amended Master Lease and the Purchase and

Sale Agreement between LNA and GPMI including stations in Maryland.

       291. The GPMI bankruptcy trustee filed an adversary proceeding against

OAO Lukoil, LAC and LNA, for the fraudulent transfer of assets between GPMI

and LNA. OAO Lukoil, LAC and LNA settled the bankruptcy trustee's fraudulent

transfer claim for $93 million in cash to be paid to the GPMI Trust,

       292. LNA owns underground storage tanks and service stations in

Maryland, some or all of which are sources of ongoing MTBE contamination.

       293. Every corporate officer of GPMI held the same position with LAC

and LNA, indicative of the fact that these entities were operating as a single entity.




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      294. Vadim Gluzman was the Chairman of the Board and Chief

Executive Officer of GPMI, LAC, and LNA. Mr. Gluzman reported to the Chief

Executive Officer of OA° Lukoil and was a vice-president of 0A0 Lukoil from

2007 to 2009.

      295. Vincent De Laurentis was the President and Chief Operating Officer

of GPMI, LAC, and LNA.

      296. Michael Hantman was the Senior Vice President and Chief Financial

Officer of GPMI, LAC, and LNA.

      297. Semyon Logovinsky, was the Vice-President for Wholesale and

New Business Development of GPMI, LAC, and LNA.

      298, GPMI, LAC, and LNA had the same principal place of business:

Lukoil Plaza, 1500 Hempstead Turnpike, East Meadow, New York 11554.

      299. OA° Lukoil, LAC, LNA, and GPMI failed to observe corporate

separateness and acted as alter-egos and/or as if GPMI was a department of °AO

Lukoil and LAC and not a separate entity. OA° Lukoil, LAC, and LNA wholly

ignored the separate status of GPMI and controlled and dominated its affairs such

that its separate existence was a sham and facade.

       300. Throughout the ten years that LAC owned GPMI, neither LAC nor

GPMI observed corporate formalities, held regular board meetings, or prepared or

maintained regular board minutes. Business decisions of GPMI and LAC were




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made through "written consents" signed by three board members, including a

designated board member from OAO Lukoil,

      301, 0A0 Lukoil prevented GPMI from obtaining financing without its

approval.

      302. OAO Lukoil and LAC required GPMI to submit financial reports to

0A0 Lukoil.

      303. 0A0 Lukoil regularly called Vadim Gluzman and other GPMI,

LAC and LNA officers to the headquarters of OAO Lukoil in Moscow so OAO

Lukoil could tell them how to manage GPMI, LAC, and LNA. By their actions as

aforesaid and otherwise, the defendants OAO Lukoil, LAC and LNA, failed to

observe GPMI' s separate corporate entity, operated GPMI and/or dealt with

GPMI's property as if it were their own, used GPMI as a mere shield to escape

liability to the State and otherwise to evade legal obligations to the State of

Maryland.

       304. As described above, OAO Lukoil, LAC, LNA and GPMI had a unity

of ownership, a unified administrative and financial control, and similar or

supplementary business functions, and OAO Lukoil, LAC, LNA so dominated

GPMI that GPMI did not have a true separate existence.

       305. As described above, OAO Lukoil, LAC and LNA are directly,

indirectly, and through agents and/or officers, or alter-egos, successors in liability




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for MTBE contamination which was the result of releases that occurred at GPMI-

lease sites prior to January 25, 2001.

       306. As described above, 0A0 Lukoil, LAC and LNA are directly,

indirectly, and through agents and/or officers, or alter-egos, liable for MTBE

contamination which was the result of releases at GPMI-lease sites that occurred

on or after January 25, 2001.

       307. Under the totality of the circumstances, as described above, a

paramount injustice would occur if LAC, OA° Lukoil, and LNA were allowed to

escape liability for their and GPMI' s environmental liabilities. In addition, under

the totality of the circumstances, public policy demands that OA° Lukoil, LAC

and LNA not be permitted to avoid their and GPMI's legitimate legal obligations

to the State of Maryland. No innocent parties will be prejudiced by holding LAC,

°AO Lukoil, and LNA liable for their and GPMI's environmental liabilities.

                                     COUNT!

    STRICT PRODUCT LIABILITY BASED ON DEFECTIVE DESIGN

       308. The State incorporates by reference the preceding paragraphs as

though fully set forth herein.

       309. Defendants manufactured and/or sold MTBE gasoline. Defendants

designed, manufactured, formulated, refined, set specifications for, exchanged,

promoted, marketed, and/or otherwise supplied (directly or indirectly) MTBE




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gasoline that was delivered into Maryland, or into areas outside Maryland

affecting the waters of the State.

       310. Defendants' MTBE gasoline was made as designed by the

defendants, but these products' designs were unreasonably dangerous in ways not

contemplated by the ultimate user. MTBE is not safe for its intended use by its

intended consumers, especially in light of the availability of reasonably safer and

available alternatives. At the time that it left the defendants' possession or control,

and at all other times relevant to this action, MTBE gasoline was defective and

unreasonably dangerous to users and to users' property because, among other

things:

          a.    MTBE is released more readily from gasoline transportation, storage

          and delivery systems or facilities than are the other constituents of gasoline

          and other available and viable alternative-gasoline additives that can be

          substituted for MTBE;

          b.     MTBE gasoline, when used in its intended manner, causes extensive

          groundwater contamination that is difficult, time consuming and expensive

          to respond to and remediate;

          c,     even at extremely low concentrations, MTBE renders groundwater

          putrid, foul, and unfit for use by humans;




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      d.      MTBE and MTBE gasoline pose significant threats to the public

      health, comfort, safety and welfare and the environment;

      e.      at all times relevant to this action, feasible alternatives to MTBE in

      gasoline were available to the defendants which could have achieved

      required efficiencies, octane levels and/or oxygenation and would have

      eliminated the unreasonable dangers and hazards posed by MTBE gasoline;

      f.      M1I3E and MTBE gasoline are defectively manufactured when they

      contain and/or degrade into unnecessary and environmentally harmful

      impurities such as TBA; and

      g.      any utility allegedly provided by the use of MTBE gasoline is

      greatly outweighed by the risks and dangers associated with MTBE

       gasoline.

       311. MTBE gasoline's design defects caused injuries and property

damage to the State.

       312. Defendants' MTBE gasoline reached the ultimate users without

substantial change in their condition.

       313. Defendants knew of MTBE gasoline's design defects. Defendants at

all times knew of the defective and unreasonably dangerous nature of MTBE

gasoline, yet still manufactured, sold and/or distributed the product without any

regard for its defective characteristics.




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       314. Defendants consciously and deliberately disregarded a foreseeable

harm that might result from MTBE gasoline's defective designs. Defendants

represented and claimed that MTBE gasoline could be handled and used in the

same manner as gasoline not containing MTBE, and/or otherwise did not require

any different or special handling or precautions. Despite prior knowledge of

potential carcinogenic or other health effects, defendants failed to conduct

reasonable, appropriate, or adequate scientific studies to evaluate the potential

human health effects of MTBE.

       315. The State and its citizens did not actually know or appreciate the

particular risk of damages created by MTBE gasoline's defective design.

Defendants knew that MTBE gasoline would be handled, purchased, and used

without inspection for defects, and/or defendants knew that Downstream Handlers

and intended users and consumers did not have the wherewithal to inspect or test

for defects.

       316. The State and its citizens did not voluntarily expose themselves to

the risk posed by MTBE or MTBE gasoline while realizing the danger.

       317. The State and its citizens did not unreasonably or knowingly expose

themselves to the risk posed by MTBE or MTBE gasoline.

       318. At all times relevant to this action, MTBE gasoline was

unreasonably dangerous for sale to or for use by the intended user or consumer,




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and/or the great risk of harm to the public's health, property, safety, and welfare

and to the environment posed by MTBE gasoline outweighed the cost to

defendants of reducing or eliminating such risk. Defendants were able to convert

to a different, safe gasoline formulation without MTBE, and still profit from their

gasoline sales.

       319. At all times relevant to this action, the distribution, storage, and/or

use of MTBE gasoline and the risks and dangers associated therewith—including

the risk of harm to the public's health, property, safety, and welfare, and to the

environment—outweighed any limited utility provided by MTBE gasoline.

       320. At all times relevant to this action, the defendants expected their

MTBE gasoline to be used by the intended users and/or consumers of MTBE

gasoline without substantial change in condition, and said intended users and/or

consumers did in fact use MTBE gasoline without substantial change in condition.

As a proximate result of the defects previously described, MTBE and MTBE

gasoline caused the injuries and damages set forth in this Complaint.

       321. As a direct and proximate result of defendants' acts and omissions as

alleged herein, the State has incurred and suffered and will continue to incur and

suffer substantial costs and damages for which defendants are strictly, jointly and

severally liable.




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                                       COUNT II

    STRICT PRODUCT LIABILITY BASED ON FAILURE TO WARN

       322. The State incorporates by reference the preceding paragraphs as

though fully set forth herein.

       323. MTBE gasoline was designed, manufactured, formulated, marketed,

promoted, supplied, and/or sold in a defective condition that made it unsafe for its

foreseeable uses in that it posed unreasonable risks to users and to users' property,

to the State's groundwater, and to the health, safety, property, and well-being of

persons that rely on the State's groundwater for drinking-water supplies.

Defendants' MTBE gasoline was defective when it left defendants' possession or

control. Defendants expected their MTBE gasoline to reach their foreseeable

users in Maryland without substantial change in its condition, and defendants'

MTBE gasoline did in fact reach its foreseeable users in Maryland without

substantial change in its condition.

       324. The aforesaid dangers posed by MTBE gasoline were not obvious to

a reasonable user.

       325. Defendants knew or should have known of the aforesaid dangers

posed by the foreseeable uses of MTBE gasoline. Yet defendants consciously and

deliberately disregarded foreseeable harms that MTBE gasoline might cause.




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       326. Defendants had a duty to provide foreseeable users with adequate

warnings of the aforesaid dangers posed by MTBE and MTBE gasoline.

       327. Defendants did not adequately warn or instruct Downstream

Handlers or the intended users or consumers as to the dangers of MTBE gasoline.

Despite their knowledge that ground and surface water contamination with MTBE

was the inevitable consequence of their conduct, defendants failed to provide

adequate warnings or instructions on the proper and safe use of MTBE gasoline.

Defendants did not take any other precautionary measures to prevent or mitigate

their MTBE gasoline from contaminating the waters of the State, from damaging

the property of the State and from injuring the health, safety, property, and welfare

of a substantial segment of the State's citizens.

       328. Defendants' failure to provide the adequate warnings or instructions

on the use of or dangers presented by MTBE gasoline rendered this product

defective and unreasonably dangerous. The absence of adequate warnings or

instructions for the safe use of MTBE gasoline were a direct and proximate cause

of the aforesaid injuries to the waters of the State, to the property of the State and

to the health, safety, property, and welfare of a substantial segment of the State's

citizens.

       329. The State and its citizens have suffered and will suffer compensable

injuries and property damage as a result of defendants' breach of their duty to




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provide adequate warnings of the aforesaid dangers posed by foreseeable uses of

MTBE gasoline. Had the Downstream Handlers and intended users and

consumers of MTBE gasoline received adequate warnings or instructions

concerning the safe use of MTBE gasoline, they would have, or were substantially

likely to have, avoided the risks or dangers attendant to the use of MTBE gasoline,

including avoiding MTBE gasoline altogether.

       330. The State and its citizens did not know about, appreciate, or

voluntarily expose themselves to the dangers posed by foreseeable uses of MTBE

gasoline.

       331. As a direct and proximate result of defendants' acts and omissions as

alleged herein, the State has incurred and suffered and will continue to incur and

suffer substantial costs and damages for which defendants are strictly, jointly and

severally liable.

                                   COUNT III

  STRICT LIABILITY FOR ABNORMALLY DANGEROUS ACTIVITY

       331 The State incorporates by reference the preceding paragraphs as

though fully set forth herein.

       333, Downstream Handler defendants' storage of large quantities of

MTBE gasoline in underground storage tanks in the vicinity of waters of the State

used as drinking and/or irrigation water and/or near population centers with




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drinking water wells is an abnormally dangerous activity. That activity has

resulted in the release of MTBE gasoline into the waters of the State that supply

the public with fresh water for human consumption and irrigation. Such releases

of MTBE gasoline have resulted in injury to and/or destruction of those water

resources.

        334. Downstream Handler defendants' conduct constitutes a• non-natural

use of their premises and an abnormally dangerous activity. Their conduct is

characterized by a high degree of risk of harm to the State's waters and its citizens.

There is a great likelihood that such harm will result. Given the fact that the

State's precious and limited drinking and irrigation water resources are located

directly beneath and adjacent to these defendants' places of business, defendants'

polluting activities have not been a matter of common usage,

        335. Additionally, defendants' unpermitted polluting activities have been

an inappropriate use of land in such close proximity to population centers.

Releases of MTBE into the waters of the State that are used or may be used in the

future for potable or irrigation purposes or that are near population centers or the

residences of the State's citizens causes the citizens of the State grave and serious

harm.

        336. The State's and its citizens' interest in a clean water supply and

undamaged natural resources far outweighs the value of the improperly conducted




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activities by Downstream Handler defendants on their premises or premises under

their direct or indirect control.

       337. The Downstream Handler defendants are strictly liable to the State

for harm to the waters of the State resulting from such defendants' abnormally

dangerous activities. Each Downstream Handler defendant is liable for damages,

must cease causing further injuries to the waters of the State, and must restore

such waters to their pre-contaminated state.

                                    COUNT IV

                                 PUBLIC NUISANCE

       338. The State incorporates by reference the preceding paragraphs as

though fully set forth herein.

       339. The Secretary of the Maryland Department of the Environment is

empowered to investigate nuisances that affect public health and "devise means

for the control of these nuisances," "may enter on and inspect any private property

to determine if a nuisance exists," and "may bring an action to enjoin any person

from committing any nuisance that may injure public health. Md. Code Ann.,

Envir. §§ 10-102, 10-104, 10-105.

       340. Similarly, the Secretary of the Maryland Department of Health may

bring an action to enjoin any person from committing any nuisance. Md. Code

Ann., Health-Gen. § 20-305.




                                        141
      341. Defendants' unreasonable conduct has resulted in water

contamination that is a public nuisance because it causes real, substantial, and

unreasonable damage to and/or interference with rights common to the State's

communities and general public, including the right to clean, unadulterated water.

      342. Defendants' actions and omissions in causing MTBE gasoline to

enter and pollute the waters of the State violate, inter alia, § 4-410(a) of the

Environment Article and Code of Maryland Regulations ("COMAR")

26.10.02.01A, and constitute unreasonable conduct and a public nuisance per se

under Maryland law.

      343.    Likewise, the discharge of MTBE into drinking water of the state

also constitutes a public nuisance because such discharge creates a "condition that

is dangerous to health or safety," including a "contaminated water supply" and

"inadequately protected water supply . . . ." Md. Code Ann., Health-Gen. § 20-

301(a).

       344. The public nuisance caused by defendants has substantially and

unreasonably interfered with, obstructed, and/or threatened, among other things,

the State's and the general public's interests in the waters of the State, as well as

the State's ability to protect, conserve, and manage the waters of the State.

       345. The public nuisance caused by defendants is of a continuing nature

and has produced long-lasting negative effects upon the waters of the State, and




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upon the health, property, safety, and welfare of the general public, as defendants

knew or had reason to know at all times relevant hereto. In addition to the

defendants' actions and omissions with respect to the distribution, handling, and

storage of MTBE gasoline that has resulted in pollution of the waters of the State,

defendants' decision to continue delivery of MTBE gasoline to underground

storage tanks in the State and their continuing failure to investigate and abate the

nuisance also constitutes continuing conduct,

       346. Defendants intentionally and deceptively promoted MTBE for use as

an additive in gasoline despite knowing that it had latent and far-reaching adverse

environmental consequences, and defendants refined, compounded, formulated,

marketed, distributed, and/or otherwise supplied and controlled MTBE gasoline in

Maryland (and areas outside Maryland affecting the waters of the State) when, at

all times relevant hereto, defendants knew, or reasonably should have known, that:

(a) MTBE gasoline would be placed into leaking gasoline storage and delivery

systems; and (b) when released into the subsurface, MTBE would spread farther

and faster than other components of gasoline, resist biodegradation, contaminate

groundwater—including drinking-water supplies—and, ultimately, be difficult and

costly to remove from the water.

       347. Based on their conduct as aforesaid, defendants have, at all times

relevant to this action, caused, maintained, substantially participated in,




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substantially contributed to, and/or assisted in the creation of a public nuisance

and must abate the nuisance by, among other methods, investigating and fully

delineating horizontally and vertically the full extent of all MTBE plumes for

which the defendants are persons responsible and ensuring the cleanup (as defined

in Md. Code Ann., Envir. § 4-401(b)) of such MTBE plumes so that the

groundwater is in the same state it was in prior to the discharges of MTBE.

          348. As a direct and proximate result of defendants' acts and omissions as

alleged herein, the State has incurred and suffered and will continue to incur and

suffer substantial costs and damages for which defendants are jointly and severally

liable.

                                      COUNT V

                                     TRESPASS

          349. The State incorporates by reference the preceding paragraphs as

though fully set forth herein.

          350. Defendants' intentional and/or negligent conduct caused MTBE to

enter, invade, intrude upon, injure, trespass, and threaten to trespass upon the

State's possessory interest in properties it owns, the possessory interest of its

citizens in properties they own which the State asserts here on their behalf in its

parens patriae capacity, and the State's possessory interest as the trustee of the

State's natural water resources.




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       351. Defendants did not and do not have authority, privilege, or

permission to trespass upon the aforesaid possessory property interests.

       352. The State and its citizens have never consented to the trespasses

alleged herein.

       353. Defendants have refused and failed to terminate their trespasses,

despite being put on notice to do so by the State through its policies, statutes,

regulations, orders, and other means.

       354. Defendants' trespass is of a continuing nature and has produced a

long-lasting negative effect upon the property of the State and its citizens, as

defendants knew or had reason to know at all times relevant hereto.

       355. Defendants intentionally and deceptively promoted MTBE for use as

an additive in gasoline despite knowing it had latent and far-reaching adverse

environmental consequences, and defendants refined, compounded, formulated,

marketed, distributed, and/or otherwise supplied and controlled MTBE gasoline in

Maryland (and areas outside of Maryland affecting waters of, and property within,

the State) when, at all times material hereto, defendants knew, or reasonably

should have known, that: (a) MTBE gasoline would be placed into leaking

gasoline storage and delivery systems; and (b) when released into the subsurface,

MTBE would spread farther and faster than other components of gasoline, resist

biodegradation, substantially and unreasonably invade possessory interests in




                                        145
property, contaminate groundwater—including drinking-water supplies—and,

ultimately, be difficult and costly to remove from the water.

       356. Based on their conduct, defendants have, at all times relevant to this

action, created, caused, maintained, continued, substantially contributed to,

substantially participated in, and/or assisted in the creation of such trespass. Based

on their knowledge of the properties and manner of distribution and storage of

MTBE gasoline as alleged herein, defendants were or should have been aware that

as a result of their conduct MTBE contamination of Maryland's groundwater as

alleged was inevitable or substantially certain to result.

       357. As a direct and proximate result of defendants' acts and omissions,

the State and a substantial segment of the citizens of the State have incurred and

suffered, and will continue to incur and suffer, substantial costs and damages for

which defendants are jointly and severally liable.

                                     COUNT VI

                                  NEGLIGENCE

       358. The State incorporates by reference the preceding paragraphs as

though fully set forth herein.

       359. Defendants owed a duty or obligation, recognized by law, requiring

conformance to a certain standard of conduct for the protection of others against

unreasonable risks. Defendants had a duty to the State to exercise due care in the




                                          146
design, manufacture, formulation, handling, storage, control, disposal, marketing,

sale, testing, labeling, use, and instructions for use of MTBE gasoline.

       360. Defendants breached their duty by failing to conform to the requisite

standard of care. Defendants so negligently, carelessly, and recklessly designed,

manufactured, formulated, handled, stored, labeled, instructed, controlled (or

failed to control), tested (or failed to test), marketed, sold, and/or otherwise

distributed MTBE gasoline that they breached their duties and directly and

proximately caused MTBE to contaminate and threaten the waters of the State,

resulting in the injuries alleged in this Complaint.

       361. There is a proximate casual connection between defendants' breach

of their duty of care and the resulting actual harm to the State.

       362. Defendants failed to conduct reasonable, appropriate, or adequate

scientific studies to evaluate the environmental fate and transport characteristics of

MTBE, and/or the likelihood that use of MTBE as a component of gasoline would

pollute public and private water supplies, render drinking water unusable and

unsafe, and injure and threaten to injure the environment, and the public's health,

property, safety, and welfare.

       363. Defendants that manufactured, promoted and/or otherwise supplied

MTBE to the defendants that refined gasoline knew or reasonably should have

known that:




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      a.     defendants that refined gasoline would in turn blend the MTBE into

      gasoline;

      b.     such MTBE gasoline would then be placed into MTBE storage and

      delivery systems, including those in Maryland, with a known propensity

      and/or potential to leak; and

      c.     when released into the subsurface, MTBE would spread farther and

      faster than other components of gasoline, resist biodegradation, injure and

      threaten to injure persons and property interests, contaminate waters of the

      State—including drinking water supplies—and, ultimately, be difficult and

      costly to find and remove from the water.

      364. Defendants that refined, marketed, and/or otherwise supplied MTBE

gasoline that was delivered, stored and sold in Maryland and/or in areas affecting

waters of the State knew, or reasonably should have known, that:

      a.     such gasoline would be placed into MTBE storage and delivery

      systems with a known propensity and/or potential to leak;

      b.     MTBE would be released even more readily than the constituents of

      gasoline not containing MTBE from MTBE storage and delivery systems;

      and

      c.     when released into the subsurface, MTBE would spread farther and

      faster than other components of gasoline, resist biodegradation, injure and




                                       148
       threaten to injure persons and property interests, contaminate waters of the

       State, including drinking-water supplies, and, ultimately, be difficult and

       costly to remove from the water.

       365. Defendants manufactured, refined, marketed, promoted, and/or

otherwise supplied MTBE gasoline to Downstream Handlers and intended users

and consumers when they knew, or reasonably should have known, that MTBE

would be released into the environment from commercial and consumer uses and

sources in Maryland and would contaminate the waters of the State.

       366. Despite their knowledge that water contamination with MTBE was a

probable consequence of their conduct and omissions as alleged herein, defendants

failed to provide reasonable warnings or special instructions, to take any other

reasonable precautionary measures to prevent or mitigate such contamination, or

to undertake and perform appropriate and necessary response or remediation

activities.

       367. Defendants that are Downstream Handlers and that handled and/or

stored MTBE gasoline within the State breached their duty of care to properly

install, maintain and/or operate their underground storage tanks storing MTBE

gasoline or to handle MTBE gasoline so as to avoid releases of MTBE into the

waters of the State or into adjacent soils so as to threaten the waters of the State.




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          368. In light of the facts alleged herein, defendants breached their duty to

use due care in the design, manufacture, formulation, handling, storage, control,

marketing, sale, testing, labeling, use, and instructions for use of MTBE gasoline.

          369. As a direct and proximate result of defendants' acts and omissions as

alleged herein, the State has incurred and suffered and will continue to incur and

suffer substantial costs and damages for which defendants are jointly and severally

liable.

                                     COUNT VII

           ENVIRONMENT ARTICLE, TITLE 4, SUBTITLE 4 CLAIM

          370. The State incorporates by reference the preceding paragraphs as

though fully set forth herein.

          371. "[I]t is State public policy to improve, conserve, and manage the

quality of the waters of the State and protect, maintain, and improve the quality of

water for public supplies, propagation of wildlife, fish and aquatic life, and

domestic, agricultural, industrial, recreational, and other legitimate beneficial

uses." Md. Code Aim., Envir. § 4-402. The Maryland Department of the

Environment may leixercise every incidental power necessary to carry out the

purposes of this subtitle." Md. Code Ann., Envir. § 4-405(a)(9).

          372. Pursuant to § 4-410 of the Environment Article, "it is unlawful for

any person to discharge or permit the discharge of oil in any manner into or on




                                          150
waters of this State" "[e]xcept in case of emergency imperiling life or property,

unavoidable accident, collision, or stranding, or as authorized by a permit. . . ."

       373. A "person responsible for the discharge as defined in § 4-401(j) of

this subtitle is liable for any containment, cleanup, and removal costs or damages.

. . ." Md. Code Ann., Envir. § 4-419(c) (emphasis added); see also id. at § 4-

419(a).

       374. A Iplerson responsible for the discharge" includes "the owner of

the discharged oil," the "owner, operator, or person in charge of the oil storage

facility . . , involved in the discharge at the time of or immediately before the

discharge," and "[a]ny other person who through act or omission causes the

discharge," Md. Code Ann., Envir. § 4-401(j)(1) (emphasis added).

       375. "Cleanup' means abatement, containment, removal, and disposal of

oil and the restoration of the environment to its existing state prior to a discharge."

Md. Code Ann., Envir. § 4-401(b) (emphasis added).

       376. "Removal costs' means the costs of removal that are incurred after a

discharge of oil has occurred or, in any case where there is a substantial threat of a

discharge of oil, the costs to prevent, minimize, or mitigate oil pollution from such

an incident." Md. Code Ann., Envir. § 4-401(k).




                                         151
       377. "Damages' means any damages for which liability exists under the

laws of this State resulting from, arising out of, or related to the discharge or

threatened discharge of oil." Md. Code Ann., Envir. § 4-401(c)(1).

       378. "Damages" also include the "cost of assessing the damages,"

"[d]amages for injury to, destruction of, loss of, or loss of use of natural resources,

including the reasonable costs of assessing the damage," "[d]amages for injury to

or economic losses from the destruction of real or personal property," "[d]amages

for loss of subsistence use of natural resources," "damages equal to the net loss of

taxes, royalties, rents, fees, or net profit shares due to the injury, destruction, or

loss of real property, personal property, or natural resources," and "net costs of

providing increased or additional public services during or after removal activities

including protection from fire, safety, or health hazards cause by a discharge of

oil," among other things. Md. Code Ann., Envir. § 4-401(c)(2).

       379. Md. Code Ann., Envir. § 4-405 provides that any person causing any

"condition [in waters of the State] indicative of damages to aquatic resources" is

also "jointly and severally liable for the reasonable cost of rehabilitation and

restoration of the resources damaged and the cost of eliminating the condition

causing the damage, including the environmental monetary value of such

resources. . . ." Moreover, any "person who is determined to be responsible for

the discharge or spillage of any such substance shall be personally and/or severally




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responsible to immediately clean up and abate the effects of the spillage and

restore the natural resources of the State."

       380. Upon a showing that any person is violating or about to violate Title

4, Subtitle 4 of the Environment Article, or violating or about to violate any valid

order or permit issued by the Department, an injunction shall be granted without

the necessity of showing a lack of adequate remedy at law. Md. Code Ann., Envir.

§ 4-416.

       381. Defendants are responsible for discharges of MTBE gasoline into the

waters of the State. As the defendants are persons responsible for the discharges

of MTBE gasoline throughout the State in violation of the prohibition against

discharges set forth in § 4-410 of the Environment Article, the Attorney General is

empowered to seek an injunction ordering defendants to investigate and fully

delineate horizontally and vertically the full extent of all MTBE plumes for which

they are responsible and to ensure the cleanup of such MTBE so that the

groundwater is in the same state it was in prior to the discharges of MTBE. Md.

Code Ann., Envir. §§ 4-416, 4-401(b).

       382. Defendants are responsible for discharging and spilling MTBE

gasoline into the waters of the State. Each defendant's acts and/or omissions

caused one or more discharges of MTBE gasoline into waters of the State.




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      383. Defendants are jointly and severally liable for all costs of "cleanup,"

"removal costs," and "damages," as those terms are defined in § 4-401, including

the costs to restore the waters of the State to the state they were in prior to the

discharge of MTBE by eliminating all MTBE from those waters, and for the

environmental monetary value of the water damaged, and all other categories of

"damages."

      384. Those defendants that manufactured, promoted and supplied neat

MTBE to other defendants that refined gasoline did so even though they knew or

reasonably should have known that:

      a.     defendants that refined gasoline would in turn blend the MTBE into

      -gasoline;

      b.     such MTBE gasoline would then be placed into MTBE storage and

      delivery systems, including those in Maryland, with a known propensity

      and/or potential to leak; and

       c.    when released into the subsurface, MTBE would spread farther and

       faster than other components of gasoline, resist biodegradation, injure and

      threaten to injure persons and property, contaminate waters of the State—

      including drinking water supplies—and, ultimately, be difficult and costly

      to find and remove from the water.




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         385. Defendants acted to manufacture, market, and/or otherwise supply

MTBE gasoline to Downstream Handlers and users when defendants knew, or

reasonably should have known, that MTBE would be released into the

environment from commercial and consumer uses and sources in. Maryland other

than MTBE storage and delivery systems, thereby contaminating waters of the

State.

         386. Despite their knowledge that water contaminated with MTBE was a

probable consequence of their acts and omissions as alleged herein, defendants

failed to provide any warnings or special instructions, to take any other

precautionary measures to prevent or mitigate such contamination, or to undertake

and perform appropriate and necessary response or remediation activities.

         387. In addition to defendants that are responsible for putting MTBE

gasoline into the stream of commerce and thereby responsible for discharges of

MTBE and/or MTBE gasoline, defendants that are Downstream Handlers at oil

storage facilities at which there has been a discharge are persons responsible for

the discharge.

         388. Defendants are responsible for causing discharges and spills of

MTBE gasoline into the State's waters because they breached their duty to use due

care in the design, manufacture, formulation, handling, storage, control,




                                       155
marketing, sale, testing, labeling, use, and instructions for use of MTBE and/or

MTBE gasoline.

       389. As a direct and proximate result of defendants' acts and omissions as

alleged herein, the State has incurred and suffered and will continue to incur and

suffer substantial costs and damages as aforesaid for which defendants are jointly

and severally liable.

       390. As a direct and proximate result of defendants' acts and omissions as

alleged herein, the State seeks damages, costs of cleanup, removal costs, site

rehabilitation costs, and an injunction against each defendant in an amount to be

proved at trial.

                                   COUNT VIII

        ENVIRONMENT ARTICLE, TITLE 4, SUBTITLE 7 CLAIM

       391. The State incorporates by reference the preceding paragraphs as

though fully set forth herein.

       392. The Maryland General Assembly has found that:

       a.      "The storage of oil in underground oil storage tanks is a major cause

       of groundwater contamination in this State;

       b.      Groundwater resources are vital to the population and economy of

       this State; and




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      c.      The preservation of the State's groundwater resources is in the public

      interest."

      393. The Maryland General Assembly has further found that: "where

contamination of groundwater has occurred due to leaking underground oil storage

tanks, remedial measures have often been delayed for long periods due to high

costs of such remedial measures. These delays result in the continuation and

intensification of the threat to the public health, safety, and welfare, in greater

damages to the environment, and in significantly higher costs to clean up the

contamination and rehabilitate the site." Md. Code Ann., Envir. § 4-702.

      394. Based upon these findings, the General Assembly passed Subtitle 7

of the Environmental Article entitled the "Oil Contaminated Site Environmental

Cleanup Fund" "to provide to provide adequate financial resources and incentives

for the expeditious cleanup and rehabilitation of contaminated sites without

delay."

       395. Where the Maryland Department of the Environment has assumed

control of an oil spill involving an underground oil storage tank or heating oil tank

under Subtitle 7 and the Department has obtained reimbursement of site

rehabilitation costs from the Oil Contaminated Site Environmental Cleanup Fund,

such rehabilitation costs, including attorneys' fees and litigation costs, are

recoverable from the responsible party. Md. Code Ann., Envir. § 4-706.




                                        157
       396. Under Subtitle 7, "Cleanup" means "abatement, containment,

removal, and disposal of oil and the restoration of the environment." Md. Code

Ann., Envir. § 4-701(b).

       397. Under Subtitle 7, "Site rehabilitation" means "cleanup actions taken

in response to a release from an underground oil storage tank." "'Site

rehabilitation' includes investigation, evaluation, planning, design, engineering,

construction, or other services undertaken and expenses incurred to investigate or

clean up affected soils, groundwater, or surface water." Md. Code Ann., Envir. §

4-701(e).

       398. For the reasons outlined in      J 386, 388-391, supra, defendants are

jointly and severally responsible for releases from underground storage tanks for

purposes this subtitle.

       399. The Department has spent Cleanup Fund monies with respect to

addressing MTBE pollution caused by defendants and seeks the recovery of such

costs from defendants.

                                     COUNT IX

        ENVIRONMENT ARTICLE, TITLE 9, SUBTITLE 3 CLAIM

       400. The State incorporates by reference the preceding paragraphs as

though set forth at length herein.




                                       158
       401. The Secretary of the Maryland Department of the Environment

"[Was supervision and control over the sanitary and physical condition of the

waters of this State to protect public health and comfort. . ." Md. Code Ann.,

Envir. § 9-252(b).

       402. Pursuant to § 9-322 of the Environment Article, "a person may not

discharge any pollutant into the waters of this State" except to the extent permitted

in Title 4, Subtitle 4.

       403. "'Discharge' means: (1) The addition, introduction, leaking, spilling,

or emitting of a pollutant into the waters of this State; or (2) The placing of a

pollutant in a location where the pollutant is likely to pollute." Md. Code Ann.,

Envir. § 9-101(b).

       404. "Pollutant" includes "[a]ny . . . liquid, gaseous, solid, or other

substance that will pollute any waters of this State." Md. Code Ann., Envir. § 9-

101(g). "'Pollution' means any contamination or other alteration of the physical,

chemical, or biological properties of any waters of this State, including a change in

. . . taste, color, turbidity, or odor of the waters or the discharge or deposit of any.

. . liquid. . . or other substance into any waters of this State that will render the

waters harmful or detrimental to: (1) Public health, safety, or welfare; (2)

Domestic, commercial, industrial, agricultural, recreational, or other legitimate




                                          159
beneficial uses; (3) Livestock, wild animals, or birds; or (4) Fish or other aquatic

life." Md. Code Arm., Envir. § 9-101(h).

      405. The "Department may bring an action for an injunction against any

person who violates any provision of [Subtitle 3] or any rule, regulation, order, or

permit adopted or issued by the Department under [Subtitle 3]" Md. Code Ann.,

Envir. § 9-339(a). The "court shall grant an injunction without requiring a

showing of a lack of an adequate remedy at law." Md. Code Ann., Envir. § 9-

339(c).

      406. Defendants are responsible for discharges of MTBE gasoline into the

waters of the State. Each defendant's acts and/or omissions caused one or more

discharges of MTBE gasoline into waters of the State. As the defendants are

persons responsible for the discharges of MTBE throughout the State in violation

of the prohibition against discharges, the Department is empowered to seek an

injunction ordering defendants to investigate and fully delineate horizontally and

vertically the full extent of all MTBE plumes for which the defendants are persons

responsible and to ensure the cleanup (as defined in § 4-401(b) of the Environment

Article) of such MTBE plumes so that the groundwater is in the same state it was

in prior to the discharges of MTBE. Md. Code, Envir. § 9-339(c).

       407. Because defendants discharged MTBE gasoline into the waters of

this State, they "shall reimburse the Department for the reasonable costs incurred




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by the Department in conducting environmental health monitoring or testing,

including the costs of collecting and ' analyzing soil samples, surface water

samples, or groundwater samples for the purpose of assessing the effect on public

health and the environment of the [defendants] discharge[s]," Md. Code Ann,,

Envir. § 9-342.2; see COMAR 26.14.01.04.

                                      COUNT X

           ENVIRONMENT ARTICLE, TITLE 9, SUBTITLE 4 CLAIM

       408. The State incorporates by reference the preceding paragraphs as

though set forth at length herein,

       409. MTBE gasoline and MTBE are "dangerous contaminant[s]" because

when MTBE gasoline or MTBE are "present in a public water system, they

present an imminent and substantial danger to the health of individuals." Md.

Code Ann., Envir. § 9-405(a).

          410. MDE requires that "[e]ach nontransient noncommunity water

system, including those that primarily provide bottled water shall. . .(i) . . . test the

water provided by the system for the presence of [MTBE], and (ii) [r]eport the test

results to the Department" and provide notice to the persons regularly served by

the system if the State's action level is exceeded. Md. Code Ann., Envir. § 9-

410(f).




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       411. Upon receipt of information that MTBE gasoline or MTBE "is

present in or likely to enter a public water system," the Secretary of the Maryland

Department of Environment "may take any action necessary to protect the health

of the individuals whose health is or would be endangered" by the MTBE gasoline

or MTBE. Md. Code Ann., Envir. § 9-405(b)(1). The Secretary may sue "for

injunctive or other appropriate relief." Md. Code Ann., Envir. § 9-405(b)(2)(ii),

       412. In order to stop MTBE gasoline and/or MTBE from entering public

water systems, the Secretary may seek an injunction that orders defendants to

investigate and fully delineate horizontally and vertically the full extent of all

MTBE plumes for which the defendants are persons responsible and to ensure the

cleanup (as defined in § 4-401(b) of the Environment Article) of such MTBE

plumes so that the groundwater is in the same state it was in prior to the discharges

of MTBE. Id.

                                    COUNT XI

        ENVIRONMENT ARTICLE, TITLE 7, SUBTITLE 2 CLAIM

       413. The State incorporates by reference the preceding paragraphs as

though fully set forth herein.

       414. The purpose of Title 7, Subtitle 2 "is to provide additional and

cumulative remedies to prevent, abate, and control pollution of the waters of this

State." Md. Code Ann., Envir. § 7-203.




                                        162
      415.   The Department may exercise "every incidental power necessary to

carry out the purposes of this subtitle." Md. Code Am, Envir. § 7-207(a)(7).

      416. The Department may seek an injunction ordering defendants to

investigate and fully delineate horizontally and vertically the full extent of all

MTBE plumes for which the defendants are persons responsible and to ensure the

cleanup (as defined in § 4-401(6) of the Environment Article) of MTBE plumes so

that the groundwater is in the same state as it was prior to the discharges of

MTBE. Id.

      417.   In the alternative, the Department seeks the costs necessary for the

Department to investigate and fully delineate horizontally and vertically the full

extent of all MTBE plumes for which the defendants are persons responsible and

to ensure the cleanup (as defined in § 4-401(b) of the Environment Article) of such

MTBE plumes so that the groundwater is in the same state it was in prior to the

discharges of MTBE.

                            PRAYER FOR RELIEF

      WHEREFORE, the State respectfully requests that this Court:

      a.     Enter judgment against defendants—jointly and severally—for all

costs to investigate and define the full horizontal and vertical extent of all MTBE

plumes, to remediate, to remove, to restore, to treat, to monitor, and otherwise to

respond to MTBE gasoline in the waters of the State so that there is a cleanup of




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such waters restoring them to their original condition, and for all damages to

compensate the State for the lost interim value and benefits of water resources

during all times and as to all instances of injury caused by MTBE gasoline, and for

such orders as may be necessary to provide full relief to address risks to the State,

including the costs of:

       i.     past and future testing of all affected or potentially affected

       groundwater for the presence of MTBE, including in both public and

       private drinking-water wells; and

              past and future treatment and restoration of all groundwater

       containing detectable levels of MTBE until restored to non-detectable

       levels, including in both public and private drinking-water wells;

       b.     Enter judgment against defendants, jointly and severally, for all

reasonable costs incurred related to the investigation, response, remediation,

removal, restoration, treatment and monitoring, directly or indirectly resulting

from the contamination of the waters of the State with MTBE gasoline;

       c.     Enter judgment against defendants, jointly and severally, for all

damages in an amount at least equal to the full cost of restoring the waters of the

State to their original condition prior to the contamination of such waters with

MTBE;




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       d.    Enter judgment against defendants, jointly and severally, for all

compensatory damages for the lost interim or permanent value of the waters of the

State as a result of the contamination of such waters with MTBE;

       e.    Enter judgment against defendants, jointly and severally, for all

other damages sustained by the State as a direct and proximate result of

defendants' acts and omissions alleged herein, including remedial, administrative,

oversight and legal fees and expenses and compensation for damage to waters of

the State;

       f.    Enter an order against defendants for all appropriate injunctive relief

to abate or mitigate the MTBE contamination of waters of the State so as to fully

delineate all MTBE contamination and remove such contamination so as to restore

such waters to their original pre-contaminated condition as well as to test all

private and public wells in the State for MTBE and treat all wells with any

detections of MTBE so as to restore such well water to its pre-contaminated

condition;

       g.     Enter a declaratory judgment against defendants holding them

jointly and severally liable for all future costs incurred by the State to abate or

mitigate the MTBE contamination of waters of the State so as to fully delineate all

MTBE contamination and remove such contamination so as to restore such waters

to their original pre-contaminated condition as well as to test all private and public




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wells in the State for MTBE and treat all wells with any detections of MTBE so as

to restore such well water to its pre-contaminated condition;

       h.     Enter an order against each defendant for the full amount of damages

(including those provided by § 4-401 of the Environment Article) allowable under

Maryland's Environment Article and its implementing regulations;

       i.     Enter an order assessing defendants for punitive damages in an

amount to be determined;

      j•      Award the State legal fees and costs incurred in prosecuting this

action, together with prejudgment interest, to the full extent permitted by law; and

       k.     Award the State such other relief as this Court deems appropriate.




                                 JURY DEMAND

       PLAINTIFF STATE OF MARYLAND DEMANDS A TRIAL BY JURY.




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Date: December 13, 2017


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